                          EXHIBIT 1
Document Type                                               Page

A. Certificate of True Copy                                 1
B. Docket Portal                                            2
C. Warrant for Arrest                                       5
D. Return of Service for Warrant for Arrest                 14
E. Release Order Dated October 7, 2023                      15
F. Criminal Complaint for Warrant of Summons                19
G. Release Order Dated October 9, 2023                      21
H. Order of Assignment or Denial of Counsel                 23
I. Order to Modify Condition of Release                     25
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                               0001

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                                                 Mecklenburg District Court

                                                        Case Summary
                                                    Case No. 23CR429789-590


 STATE OF NORTH CAROLINA VS SARAH FIELDS                        §                         Location: Mecklenburg District Court
                                                                §                         Filed on: 10/07/2023
                                                                §     Electronic Warrants Warrant wP6dv6XvWaXgwRnDg3ELFM
                                                                                                ID:
                                                                §        Criminal Process Number: WFA-23-707603
                                                                §        Criminal Process Number: RO-23-711649
                                                                §     Electronic Warrants Warrant 7KUXMs3EjfGpzd7X5zRjGA
                                                                                                ID:



                                                       Case Information

Offense                             Statute Degree Offense Date Filed Date               Case Type: Criminal
1. COMMUNICATING THREATS            14-277.1   M1        10/01/2023     10/07/2023      Case Status: 10/07/2023 Pending

    Arrest
      Date: 10/07/2023
2. SIMPLE ASSAULT                   14-33(A) M2          10/01/2023     10/07/2023
    Arrest
      Date: 10/07/2023

Related Cases

Bonds
Unsecured Bond           #23B070887
 10/10/2023              Posted
 Counts: 1, 2




                                                Assignment Information

            Current Case Assignment
            Case Number 23CR429789-590
            Court         Mecklenburg District Court
            Date Assigned 10/08/2023



                                                       Party Information

Defendant       FIELDS, SARAH                       DEFENDER, PUBLIC
                 7407 Pine Bluff Cir                Public Defender
                 Charlotte, NC 28214-2133           Yankelowitz, Joseph
                 White                              Retained
                 Female
State           STATE OF NORTH CAROLINA Pendergrass, Samantha D.
                 Other                  Retained

Complainant XXXXX, XXXXX
             Black
             Male



                                                         Case Events

                                                          PAGE 1 OF 3                           Printed on 03/05/2024 at 3:51 PM

                                                             0002

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                                                    Mecklenburg District Court

                                                        Case Summary
                                                    Case No. 23CR429789-590
10/25/2023                                                                                                           Index # 8
              Legacy Complete Case Scan
                Created: 02/29/2024 5:01 PM
10/10/2023    Bond Posted                                                                                            Index # 5
                Created: 10/10/2023 2:35 AM
10/09/2023                                                                                                           Index # 6
              Modification of Bond (Judicial Officer: MERCER, FRITZ Y, Jr.)
                Created: 10/10/2023 9:34 AM
10/09/2023    Counsel Appointed - Public Defender
                Created: 10/10/2023 9:34 AM
10/09/2023                                                                                                           Index # 7
              Order of Assignment of Counsel or Denial of Counsel   (Judicial Officer: MERCER, FRITZ Y, Jr.)
                Created: 10/10/2023 9:34 AM
10/07/2023                                                                                                           Index # 9
              Affidavit
                 Criminal Affidavit
                 Created: 02/29/2024 5:02 PM
10/07/2023
              Release Order Modified
                Location: MECKLENBURG COUNTY COURTHOUSE
                Crim Proc #: RO-23-711649
                Created: 10/09/2023 4:39 PM
10/07/2023                                                                                                           Index # 4
              Release Order Issued
                Location: MECKLENBURG COUNTY COURTHOUSE
                Crim Proc #: RO-23-711649
                Created: 10/09/2023 3:45 PM
10/07/2023                                                                                                           Index # 2
              Warrant for Arrest Returned Served
                Location: MECKLENBURG COUNTY COURTHOUSE
                Crim Proc #: WFA-23-707603
                Created: 10/08/2023 7:55 AM
10/07/2023                                                                                                           Index # 1
              Warrant For Arrest Issued
                Location: MECKLENBURG COUNTY COURTHOUSE
                Crim Proc #: WFA-23-707603
                Created: 10/08/2023 6:44 AM



                                                            Hearings

04/08/2024 Electronic Warrants Assigned (9:00 AM) (Judicial Officer: MCTHENIA, PAIGE BARNS)
             Resource: Location 590-4130 Mecklenburg Co. Courthouse, Courtroom 4130
           Created: 10/09/2023 4:39 PM
10/09/2023 First Appearance Hearing (10:00 AM) (Judicial Officer: MERCER, FRITZ Y, Jr.)
             Resource: Location 590-5170 Mecklenburg Co. Courthouse, Courtroom 5170
             MINUTES - 10/09/2023
                                                                                                                   Index # 6
                                Modification of Bond  (Judicial Officer: MERCER, FRITZ Y, Jr.)
                                  Created: 10/10/2023 9:34 AM
                                Counsel Appointed - Public Defender
                                  Created: 10/10/2023 9:34 AM

                                Order of Assignment of Counsel or Denial of Counsel   (Judicial Officer: MERCER, FRITZ Y, Jr.)
                                  Created: 10/10/2023 9:34 AM
                Index # 7
                Hearing Held;
                                                           PAGE 2 OF 3                               Printed on 03/05/2024 at 3:51 PM

                                                               0003

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                                             Mecklenburg District Court

                                                   Case Summary
                                              Case No. 23CR429789-590
                 Hearing Held
            Created: 10/09/2023 10:31 AM



                                                   Bond Settings

10/09/2023 Amended Bond Setting
           Set By Clerk $1,000.00 Unsecured Bond
           Conditions:
             - Arrestable Restrictions- Default




                                                     PAGE 3 OF 3          Printed on 03/05/2024 at 3:51 PM

                                                        0004

           Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 5 of 53
   File No.                                                            Law Enforcement Case No.                               LID No.
                           23CR429789-590
              WARRANT FOR ARREST
        THE STATE OF NORTH CAROLINA VS.
Name And Address Of Defendant
SARAH FIELDS                                                            STATE OF NORTH CAROLINA                                           In The General Court Of Justice
7407 Pine Bluff Cir                                                                                                                             District Court Division
                                                                                     MECKLENBURG
                                                                                                                         County
               Charlotte                         NC     28214-2133
   Mecklenburg COUNTY                                                                                            OFFENSE(S) (see AOC-CR-100 Continuation(s) for charging text)
                                                                        Count                                                                                                     Offense in Violation           Offense
                                                                                                                              Offense
                                                                         No                                                                                                                  fe                   Code
Race                Sex            Date OF Birth
                          F            01/03/1990
                                                          Age
                                                                  33                                COMMUNICATING THREATS                                                                  14-277.1                5328

Name Of Defendant's Employer                                               2                         M SIMPLE AS SAULT
                                                                                                                _                                                                          14-33(A)                1368

Date Of Offense
       10/01/2023
    Misdemeanor Offense Which Requires Fingerprinting Per
    Fingerprint Plan
Date Of Arrest & Check Digit No. (as shown on fingerprint card)


Complainant Name (and address, if Complainant is an officer)




Witness Information




 TO ANY OFFICER WITH AUTHORITY AND JURISDICTION TO EXECUTE A WARRANT FOR ARREST FOR THE OFFENSE(S) CHARGED IN THIS WARRANT:
 I, the undersigned, find that there is probable cause to believe that on or about the date of offense shown and in the county named above the defendant named above
 unlawfully, willfully, and feloniously did commit the offense(s) set forth above and on the attached AOC-CR-100 Continuation(s), which is (are) incorporated by reference.
 This act(s) was in violation of the law referred to in this Warrant For Arrest. This Warrant For Arrest is issued upon information furnished under oath by the complainant
 listed. You are DIRECTED to arrest the defendant and bring the defendant before a judicial official without unnecessary delay to answer the charge(s) above.

Date Issued           Name Of Issuing Official                                  Signature                                                    Magistrate        Deputy CSC       Assistant CSC         Clerk Of Superior Court
   10/07/2023         N.Weeks                                                                                                                District Court Judge     Superior Court Judge
Location Of Court                                                                                         Court Date                                               Court Time


                                                                                 WAIVER OF PROBABLE CAUSE HEARING
 The undersigned defendant, with the consent of his/her attorney, waives the right to a probable cause hearing.
Date Waived           Signature Of Defendant                                                Name Of Attorney                                                       Signature Of Attorney

                                                                                                          0005
                                                                                                               (Over)
  AOC-CR-100, Rev. 3/23, © 2023 Administrative Office of the Courts                                                                                                        Domestic VRA Case
                                                 Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 6 of 53
                                                                                                                                     File No.
                     STATE VERSUS                                            MECKLENBURG
                                                                                                           County                                     23CR429789-590
Name Of Defendant
SARAH FIELDS
Date Of Issuance Of Warrant For Arrest
                                                              NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-100. G.S. 15A-924(a)(5).
                               10/07/2023
                                                                            OFFENSES (continued)
   Count 1.       Offense: NM      -
                                       COMMUNICATING THREATS
Charging Text For This Count
 On or about the date of offense shown and in the county named above the defendant unlawfully and willfully did threaten to physically injure the person of             The
 threat was communicated to                     by ORALLY STATED IN PERSON TO THE VICTIM SHE WOULD KILL HIM AND THAT HE WOULD BE DEAD BY THE
 END OF THIS YEAR, NEXT YEAR AT THE VERY LATEST. SHE WAS VERY SPECIFIC IN HER TIMELINE. and the threat was made in a manner and under circumstances
 which would cause a reasonable person to believe that the threat was likely to be carried out and the person threatened believed that the threat would be carried out.




   Count 2.       Offense: NM      -
                                         SIMPLE ASSAULT
Charging Text For This Count
                                                                                                        1 HITTING THE VICTIM
 On or about the date of offense shown and in the county named above the defendant unlawfully and willfully did assault and strike
                                                                                                        by
 ACROSS HIS HEAD AND BODY WITH A CLOSED FIST BEFORE PLACING BOTH HANDS AROUND HIS NECK AND BEGAN CHOKING HIM .




  AOC-CR-100 Continuation, Rev. 3/23                                                 0006
  © 2023 Administrative Office of the Courts                                                                        Continuation Page            of       Continuation Pages
                                            Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 7 of 53
                                                                                                                                   File No.
                     STATE VERSUS                                          MECKLENBURG
                                                                                                        County                                      23CR429789-590
Name Of Defendant
SARAH FIELDS
Date Of Issuance Of Warrant For Arrest
                                                            NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-100. G.S. 15A-924(a)(5).
                               10/07/2023
                                                                          OFFENSES (continued)
   Count 3.       Offense:
Charging Text For This Count




   Count 4.       Offense:
Charging Text For This Count




  AOC-CR-100 Continuation, Rev. 3/23                                               0007
  © 2023 Administrative Office of the Courts                                                                      Continuation Page            of       Continuation Pages
                                            Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 8 of 53
                                                                                                                                   File No.
                     STATE VERSUS                                          MECKLENBURG
                                                                                                        County                                      23CR429789-590
Name Of Defendant
SARAH FIELDS
Date Of Issuance Of Warrant For Arrest
                                                            NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-100. G.S. 15A-924(a)(5).
                               10/07/2023
                                                                          OFFENSES (continued)
   Count 5.       Offense:
Charging Text For This Count




   Count 6.       Offense:
Charging Text For This Count




  AOC-CR-100 Continuation, Rev. 3/23                                               0008
  © 2023 Administrative Office of the Courts                                                                      Continuation Page            of       Continuation Pages
                                            Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 9 of 53
                                                                                                                                    File No.
                     STATE VERSUS                                           MECKLENBURG
                                                                                                         County                                      23CR429789-590
Name Of Defendant
SARAH FIELDS
Date Of Issuance Of Warrant For Arrest
                                                             NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-100. G.S. 15A-924(a)(5).
                               10/07/2023
                                                                           OFFENSES (continued)
   Count 7.       Offense:
Charging Text For This Count




   Count 8.       Offense:
Charging Text For This Count




  AOC-CR-100 Continuation, Rev. 3/23                                                0009
  © 2023 Administrative Office of the Courts                                                                       Continuation Page            of       Continuation Pages
                                            Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 10 of 53
                                                                                                                                    File No.
                     STATE VERSUS                                           MECKLENBURG                  County                                      23CR429789-590
Name Of Defendant
SARAH FIELDS
Date Of Issuance Of Warrant For Arrest
                                                             NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-100. G.S. 15A-924(a)(5).
                               10/07/2023
                                                                           OFFENSES (continued)
   Count 9.       Offense:
Charging Text For This Count




   Count 10.        Offense:
Charging Text For This Count




  AOC-CR-100 Continuation, Rev. 3/23                                                0010
  © 2023 Administrative Office of the Courts                                                                       Continuation Page            of       Continuation Pages
                                            Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 11 of 53
                                                                                                                                                 File No.
                     STATE VERSUS                                                 MECKLENBURG                          County                                     23CR429789-590
Name Of Defendant
SARAH FIELDS                                                          If the Warrant For Arrest is not served within one hundred and eighty (180) days, it must be returned to the Clerk of
Date Of issuance Of Warrant For Arrest                                Court in the county in which it was issued with the reason for the failure of service noted thereon.
                                10/07/2023
                                                                                      RETURN OF SERVICE
 |
     certify that the Warrant For Arrest issued in this case on the date noted above for the defendant named above, was received and served as follows:
Date Received                                           Date Served                             Time Served                                            Date Returned



       By arresting the defendant and bringing the defendant before:
Name Of Judicial Official



       The Warrant WAS NOT served for the following reason:



Signature Of Officer Making Return                                                                    Name Of Officer (type or print)


Department Or Agency Of Officer


                                                                                  REDELIVERY/REISSUANCE
Date                    Name Of Clerk (type or print)                            Signature Of Clerk
                                                                                                                                         []Deputycsc        [Assistantcsc    Clerk Of Superior Court

                                                                      RETURN FOLLOWING REDELIVERY/REISSUANCE
 |
     certify that the Warrant For Arrest issued in this case on the date noted above for the defendant named above, was received and served as follows:
Date Received                                           Date Served                              Time Served                                            Date Returned



        By arresting the defendant and bringing the defendant before:
Name Of Judicial Official



       The Warrant WAS NOT served for the following reason:



Signature Of Officer Making Return                                                                    Name Of Officer (type or print)


Depariment Or Agency Of Officer




     AOC-CR-100 Return, Rev. 3/23                                                              0011
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                                               Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 12 of 53
                                                                                                                                                                       File No.
                       STATE VERSUS                                                                MECKLENBURG                           County                                                23CR429789-590
Name Of Defendant                                                          NOTE: Use this page to enterjudgment on a Warrant For Arrest. Use this Judgment page only if imposing a single, consolidated judgment
SARAH FIELDS                                                                        for all offenses of conviction charged under this file number. Do not use this Judgment page to impose sentence: (i) if imposing separate
Date Of Issuance Of Warrant For Arrest                                             judgments for separate offenses of conviction charged under this file number, (ii) to impose supervised probation; or (iii) for DWI sentences
                                                                                    under G.S. 20-179. For DWI, use AOC-CR-342 (active)       or   OC-CR-31 (probation). For structured sentencing offenses, use AOC-CR-602
                                10/07/2023                                          (active)or    AOC-CR-604 (probation).
                                                                                                            JUDGMENT
District Attorney                                         Def, Waived Attorney     Def Found Not Indigent   Attorney For Defendant                                 Appointed                     PRIOR CONVICTIONS:
                                                          Def. Denied Appointed Counsel                                                                            Retained       No./Level:    00 1(0)                O int (5+)

OFFENSES: The following offenses, which are set forth by Count No. in the Warrant For Arrest issued in this case on the date noted above for the defendant named above, are the
subject of this Judgment:

Count 1         PLEA:      [] guilty [] not guilty [] no contest                                              VERDICT:    [] guilty [] not guilty                                     m.cL.: (JA1


Count 2              [
                PLEA :        guilty      not guilty   [] no contest                                          VERDICT: [      guilty   [] not guilty                                  M.CL :     [Jat
Count 3         PLEA [ :      guilty      not guilty   Ono contest                                            VERDICT: [      guilty   [] not guilty                                  M.CL :     JA1
Count 4         PLEA [ :      guilty   [] not guilty Ono contest                                              VERDICT: [      guilty   [] not guilty                                  M.CL :     ]A1                  js
Count 5         PLEA:         guilty      not guilty   Ono contest                                            VERDICT: [      guilty      not guilty                                  M.CL : CIA


Count 6         PLEA:         guilty   C not guilty [] no contest                                             VERDICT:    [] guilty [] not guilty                                     M.CL :     [a1
Count 7         PLEA:         guilty      not guilty      no contest                                          VERDICT:    [J guilty [] not guilty                                     M.CL :     [ ]A1
Count 8         PLEA2         guilty      not guilty   [] no contest                                          VERDICT:    [J guilty [] not guilty                                     M.CL : LJA1            Liz
Count 9         PLEA   2
                              guilty      not guilty   [] no contest                                          VERDICT:    [] guilty [] not guilty                                     M.CL : LJA1            Lz
Count 10        PLEA   2
                              guilty      not guilty   [] no contest                                          VERDICT:    [] guilty [] not guilty                                     M.CL : LJA1            Lz




                                                                                                                 (Over)


   AOC-CR-100 Judgment, Rev. 3/23                                                                             0012
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                                                Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 13 of 53
                                                                                                                                                                                     File No
                        STATE VERSUS                                                                     MECKLENBURG
                                                                                                                                                  County                                                23CR429789-590
Name Of Defendant
                                                                              *NOTE: Use this Judgment page only if imposing a single, consolidated judgment for all offenses of conviction charged under this file number. Do net use this
SARAH FIELDS                                                                              Judgment page to impose sentence: (i) if imposing separate judgments for separate offenses of conviction charged under this file number; (ii) to impose
                                                                                          supervised probation; or (ili) for DWI sentences under G.S. 20-179. For DWI, use AOC-CR-342 (active) or AOC-CR-310 (probation). For structured sentencing
                                                                                          offenses, use AOC-CR-602 (active) or AOC-CR-604 (probation).

                                                                                                       JUDGMENT (continued)
JUDGMENT: The defendant appeared in open court and freely, voluntarily and understandingly entered the plea(s) on Side One. On the verdict(s) from Side One, itiis ORDERED that all offenses of
conviction, if more than one, be consolidated for judgment with Count No.                   (list count of lead offense) and that the defendant:
                                                 Amount Of Fine/Penalty             Costs
   pay the following fine/penalty and costs:
                                                 $                                  $
Cbe imprisoned for a term of                days in custody of the           []
                                                                             sheriff    [[]MCP. []Othe*                                                                  Pretrial credit           days served.
   Work release          is recommended.          is not recommended.          (NOTE: 7o order work release, use form AOC-CR-602 to impose judgment.)
   The Court finds that a         longer       shorter     period of probation than that which is specified in G.S. 15A-1343.2(d) is necessary.
   Execution of the sentence is suspended and the defendant is placed on unsupervised probation* for                        months, subject to the following conditions:
        1. commit no criminal offense in any jurisdiction.      2. possess no firearm, explosive or other deadly weapon listed in G.S. 14-269.
        3. remain gainfully and suitably employed, or faithfully pursue a course of study or of vocational training that will equip the defendant for suitable employment and abide by all rules of the institution.
        4. satisfy child support and family obligations, as required by the Court.         5. Submit to the taking of digitized photographs, including photographs of the defendant's face, scars, marks, and tattoos,
           to be included in the defendant's records.       6. pay to the Clerk the costs of court and any additional sums shown below.

            Costs                      Fine                          Restitution**                   Alttorney's Fee             Community Service Fee       Other                       Total Amount Due
              $                            $                             $                                  $                               $                              $                             $
              ""Name(s), address(es), and amount(s) for aggrieved party(ies) to receive restitution: (NOTE TO CLERK: Record SSN or Tax ID No. of aggrieved party(ies) on AOC-CR-382, "Certification Of Identity (Victims' Restitution/
              Certification Of Identity (Witness Attendance).")



         7. complete          hours of community service during the first                   days of probation, as directed by the judicial services coordinator, and pay the fee prescribed by G.S. 143B-1483 within                           days.
         8. not be found in or on the premises of the complainant or
         9. not assault, communicate with or be in the presence of the complainant or
        10. provide   DNA sample pursuant to G.S. 15A-266.4. (AOC-CR-319 required)
                        a




         1.    Other:




  The Court finds just cause to waive costs as ordered on attached []AOC-CR-415. []AOC-CR-618.           Other:               []
It is ORDERED that this:    Judgment is continued upon payment of costs.
                            case be consolidated for judgment with
                              C
                            sentence is to run at the expiration of the sentence in
  COMMITMENT: It is ORDERED that the Clerk deliver two certified copies of this Judgment and Commitment to the sheriff and that the sheriff cause the defendant to be retained in custody to
                    serve the sentence imposed or until the defendant shall have complied with the conditions of release pending appeal.
PROBABLE CAUSE:          Probable cause is found as to all Counts except                                              , and the defendant is bound over to Superior Court for action by the grand jury.

                         No probable cause is found as to Count(s)                                                                           of this Warrant and the Count(s) is dismissed.
Date                         Name Of District Court Judge Or Magistrate (type or print)                                            Signature Of District Court Judge Or Magistrate


                                                                                                            APPEAL ENTRIES
[] The defendant, in open court, gives notice of appeal to the               []District          Superior       Court.
[] The current pretrial release order is modified as follows:
Date                         Name Of District Court Judge Or Magistrate (type or print)                                     Signature Of District Court Judge Or Magistrate


                                                                                                                CERTIFICATION
                                                                                               Pate                         Date Delivered To Sherif
|
 certify that this Judgment is a true and complete copy of the original which is                                                                         Signature                                                     Dep.cSC       []Asst. CSC
on file in this case.                                                                                                                                                                                                   Clerk Of Superior Court
                                                                                                                    0013
    AOC-CR-100 Judgment, Side Two, Rev. 3/23, © 2023 Administrative Office of the Courts
                                                Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 14 of 53
    mun    ariel"          panera "Oe ww
                                                                                                                                                              File No
                             STATE VERSUS                                                  MECKLENBURG                          County                                          23CR429789-590
    Name Of Defendant
    SARAH FIELDS                                                               if the Warrant For Arrest is not served within one hundred and eighty (180) days, it must be retumed to the Clerk of
    Date Of issuance Of Warrant For Arrest                                     Court in the county in which it wasissued with the reason for the failure of service noted thereon.
                                          10/07/2023
                                                                                              RETURN OF SERVICE
     |
         certify that the Warrant For Arrest issued in thiscase on the date noted above for the defendant named above, was received and served as follows:
    Date Rece eo                                                 Date Served                             Time Served                                                    te Retummed

                                                                  iO)oz/30Q3                                   0465
            By arresting the defendant and bringing the defendant before:
                Sua Gia! Official


     {] The Warrant WAS NOT served for the following reason:

    Signature         ficer Making Retunm                                                                      Name Of Officer (type or print)


    Deparfnent       Or   Agency Of Officer
                                                                                                                                                 CMe
                              PD
                                                                                           REDELIVERY/REISSUANCE
    Date                         Name Of Clerk (type or print)                            Signature Of Clerk
>                                                                                                                                                      (Jdeputycsc [JAssistantcsc []Cierk of Superior Court
                                                                               RETURN FOLLOWING REDELIVERY/REISSUANCE                                                                                         {

     |
         certify that the Warrant For Arrest issued in this case on the date noted above for the defendant named above, was received and served as follows:
    Date Received                                                Date Served                              Time Served                                               Date Ralumed



     CL)    By arresting the defendant and bringing the defendant before:
    Name Of Judicial Official



            The Warrant WAS NOT served for the following reason:



    Signature Of Officer Making Retum                                                                          Name Of Officer (type or print)


    Department Or Agency Of Officer




         AOC-CR-1 00 Retum, Rev. 3/23                                                                   0014
         © 2023 Ad ministrative Office of the Courts
                                                        Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 15 of 53
 STATE OF NORTH CAROLINA
                                                                        IV                           File No
                                                                                                                   23CR429789-590

               MECKLENBURG                                                                            In The General Court Of Justice
                                                      County                                         District         Superior Court Division
                                 STATE VERSUS
Name And Address Of Defendant
SARAH FIELDS                                                                                        CONDITIONS OF RELEASE
7401PINE BLUFF CIR                                                                                   AND RELEASE ORDER
CHARLOTTE, NC 28214
                                                                                                                                                         G.S. Chapter 15A, Art. 25, 26
                                                                                               Process No.                                   Amount Of Bond
                                                                                               #                                             $
File Numbers And Offenses
23CR429789            14-277.1 (M) COMMUNICATING THREATS
                      14--33 (A) (M) SIMPLE ASSUALT




    See Attachment.
Location Of Court                                                                                                                        Date               Time
                                                                                                                District
CHARLOTTE MECKLENBURG COUNTY COURT CTRM 5170                             -                                                 []Superior      19/99/2023                     am   (lpm
 To The Defendant Named Above, you are ORDERED to appear before the Court as provided above and at all subsequent continued dates.
 If you fail to appear, you will be arrested and you may be charged with the crime of willful failure to appear. You also may be arrested without a
 warrant if you violate any condition of release in this Order or in any document incorporated by reference.
 The defendant has been advised of charge(s) against him/her and his/her right to communicate with counsel and friends.
 [] a Your release is authorized upon execution of your
          CUSTODY RELEASE
                                                          ]WRITTEN PROMISE to appear           UNSECURED BOND in the amount shown above
                                       SECURED BOND n the amount shown above (NOTE: Give a copy of this order to any surety who posts bond.)
      m HOUSE ARREST with ELECTRONIC MONITORING administered by a                                                                    a nd the SECURED
          BOND above. You may leave your residence for the purpose(s) of                       (ent
                                                                               mpfoyment []counseling []course of study               vocational training




  x Your release is not authorized.
 Cl The defendant is required to provide (check ail that apply)       fingerprints under G.S 15A-502                        Oa
                                                                                                              ONA sample under G.S 15A-266.3A
    Prior to release, the defendant shall provide his/her (check aif that apply)     fingerprints.    DNA sample.
    The defendant has been          (i) charged with a felony while on probation (complete AOC-CR-272, Side One).      (ii) arrested for violation of probation
    with a pending felony charge or prior conviction requiring registration under G.S. 14, Article 27A (complete AOC-CR-272, Side Two).
 (] This Order is entered upon defendant's warrantless arrest for violation of conditions of release entered previously for the above-captioned case in the
    Order dated
 CJ The defendant is charged with an offense subject to G.S. 15A-534.1, and no judge has acted under that statute within 48 hours of defendant's arrest.
    The defendant was arrested or surrendered after failing to appear as required under a prior release order.
    This was the defendant's second or subsequent failure to appear in this case.
    Your release is subject to the conditions as shown on the attached []AOC-CR-242. [JAOC-CR-270. [AOc-cR-630. []AOC-CR-631.
                                                                                [Jaoc-cr-660.        Other:         []
Additional information
DV HOLD


Date                Name Of Judicial Official                        Signature        udic a       OMicial
                                                                                                                                Magistrate []DeputyCsc             []Assistant CSC
  10/07/2023         B.STRANG                                                                                                   Clerk Of Superior Court     Coc Judge Cse Judge
                                                                       ORDEROF COMMITMENT
 To The Custodian Of The Detention Facility Named Below, you are ORDERED to receive in your custody the defendant named above who may be
 released if authorized above. If the defendant is not soner released, you are ORDERED to:          produce hinvher in Court as provided above.
 (Jhold him/her [[]as provided on the attached AOC-CR-272.                       []
                                                                            for the following purpose:

       [for charges covered by G.S. 15A-534.1 (domestic violence) or 15A-534.7 (threat of mass violence)} produce himvher at the first session of District or Superior Court held in
       this county after the entry of this Order or, if no session is held before (enter date and time 48 hours after time of arrest)              10/09/2023             4:18 ANS
       x    AM         PM     produce him/her before a magistrate of this county at that time to determine conditions of pretrial release.
Name Of Detention Facility                             Date                  Name Of Judicial Official                                  Signature Of Judicial Official


                                                                                         (Over)
  AOC-CR-200, Rev. 2/21, © 2021 Administrative Office of the Courts
                                                                                    0015

                Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 16 of 53
                                                                          were "         5



                                                                            L




                                     :
                                                      WRITTEN PROMISE.TO APPEAR OR CUSTODY RELEASE                                                       :           :


 |
                                                        trialsor otherwise as the Court may require and to abide by any restrictions set out above.
     , the undersigned, promise to appear at all hearings,
 | understand and agree that this promise Is effective until the entry of Judgment in the District Court fram which no appeal is taken or until the entry of
                                                                                                                                  and that person agrees by
 judgment in Superior Court. !f! am released to the custody of another person, agree to be placed in that person's custody,
                                                                                     |



 his/her signature to supervise me.
Date                    Signature Of Defendant                                   Signature Of Person Agreeing To Supervise Defendant


Name Of Person Agreeing To Supervise Defendant (type or print)                       Address Of Parson Agreeing To Supervise Defendant

         :
                          tine
                                                                   DEFENDANTRELEASEDONBAIL
Date                                                  Time                           Signature Of Custodian
                                                                      (Jam Opm                                                                               :


                                 :
                                              :
                                                              CONDITIONS OF RELEASE MODIFICATIONS                                  :     :                               :




The Conditions of Release on the reverse are modified as follows:
                              Modification                                                    Date                        Signature Of Judicial Official




                                         FS       :
                                                              SUPPLEMENTAL ORDERS FOR COMMITMENT                            :
                                                                                                                                                    83           :
 The defendant is next Ordered produced in Court as follows:
    Date          Time                 Place                                        Purpose                               Signature Of Judicial Official




                                                             DEFENDANT RECEIVED BY DETENTION FACILITY                                          :




                                                                                                                  ewes
                                 ate                                       T me                  m            _   1   Signature Of Custodian




                                                                      +




                                     :
                                                         DEFENDANT RELEASED FOR COURT APPEARANCE
                            Date                                           Time                                       Signature Of Custodian




     NOTE TO CUSTODIAN: This form shail accompany the defendant to court for all appearances.
      AOC-CR-200, Side Two, Rev, 2/21
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                                                                                  0016

                 Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 17 of 53
                                                                                                     File No
 STATE OF NORTH CAROLINA                                                                                           23CR429789-590

                MECKLENBURG                                                                          in The General Court Of Justice
                                                       County                                        District          Superior Court Division
                                  STATE VERSUS
Name And Address Of Defendant
SARA FIBLDS                                                                                          CONDITIONS OF RELEASE
7401 PINE BLUFF CIR
                                                                                                      AND RELEASE ORDER

CHARLOTTE                                                         NC          28214         #                                                           G.S. Chapter 15A, Art. 25, 26
                                                                                            Amount Of Bond
                                                                                             $                                             1,000.00
Offenses And Additional File Numbers
                       M- COMMUNICATING THREATS
                       M-SIMPLE ASSAULT                                                                                                                                    See
                                                                                                                                                                           Attachment

Lacafion Of Court                                                                                                                       Date               Time
                                                                                                                District          0900         am [pm
MECKLENBURG COUNTY COURTHOUSE COURTROOM 5170                                                    []Superior 10/09/2023
 To The Defendant Named Above, you are ORDERED to appear before the Court as provided above and at all subsequent continued dates.
 if Your fait to                     arrested-and-you may be charged with the crime of                                     may-be arrested without a
 warrant if you violate any condition of release in this Order or in any document incorporated by reference.
 The defendant has been advised of charge(s) against him/her and his/her right to communicate with counsel and friends.
       Your release is authorized upon execution of your: ] WRITTEN PROMISE to appear                             []
                                                                                             UNSECURED BOND in the amount shown above
                                                              amount shown above NOTE: Give a copy of this order to any surety who posts bond.)
          icusTopDY RELEASE             SECURED BOND
            HOUSE ARREST with ELECTRONIC MONITORING administered by a                                                                   and the SECURED
             BOND above. You may leave your residence for the purpose(s) of                                                counseling       course of study       vocational training




  _     Your release is not authorized.
        The defendant is required to provide (check ai that apply)        fingerprints under G.S 15A-502          DNA sample under G.S. 15A-266.3A.
        Prior to release, the defendant shall provide his/her (check ai! that apply)     fingerprints     DNA sample.
        The defendant has been            charged with a felony white on probation (complete AOC-CR-272, Side One).        tii) arrested for violation of probation
        with a pending felony charge or prior conviction requiring registration under G.S. 14, Article 27A (complete AOC-GR-272, Side Two).
        This Order is entered upon defendant's warrantless arrest for violation of conditions of release entered previousty for he above-captioned case in the
    Order dated
    The defendant was arrested or surrendered after failing to appear as required under a prior release order.
    This was the defendant's second or subsequent failure to appear in this case.
                                                                                                  Other:
  oYour release is subject to the conditions as shown on the attached oAoc-cr-270.
Additional Information




Date                             Signature Of Judiciat Official                                            Magistrate       a Deputy CSC     O Assistant CSC
          10/09/2023                                       C.TERRY                                                                         District Court Judge    Supefior Court Judge

                                                                  ORDEROF COMMITMENT                                                                                                      {

  To The Custodian Of The                                   Below,           ORDERED to receive n your custod            named
  fleasedif autharized above. If thé defendant is             réleaséd, You aré ORDERED to:          producé hither in provided above
  (Jhold him/her         Jas     provided on the attached AOC-CR-272.        for the following purpose, COURTROOM 5176 10/09/2023 @0900AM
                                                                                                                                               of District or Superior Court held in
        ifor charges covered by G.S. 154-534.1 (domestic violence) or 15A-534,7 (threat of mass violence] produce him/her at the first session
        this count after the entry of this Order or, a   if no session is held before (enter date and time 48 hours after time
        Oam                   produce hi /her before a magistrate of this county at that ti e to determine conditions of pretrial release
Name Of Detention Facility                                        Date                       Signature Of Judicial Official
 MECKLENBURG COUNTY JAIL          10/09/2023                       C.TERRY
                       WRITTEN PROMISE   TO  APPEAR OR CUSTODY RELEASE                                                                                                      :




  I, the undersigned, promise to appear at all hearings, trials or otherwise as the Court may require and to abide by any
                                                                                                                            restrictions set out above.
  |understand and agree that this promise is effective until the entry of judgment in the District Court from which no appeal is taken or until the entry of
                                                                                                                                   and that person agrees by
 judgment in Superior Court. If am released to the custody of another person, agree to be placed in that person's custody,
                                                                                                 |



 his/her signature to supervise me.
Date                    Signature Of Defendant                                   Signature Of Person Agreeing To Supervise Defendant


Name Of Person Agreeing to Supervise Defendant (type or print)                               Address Of Person Agreeing To Supervise Defendant


                                                                    DEFENDANT RELEASED ONBAIL
Date                                            Time                                             Signature Of Jailer
                                                                         Cjam       (pm
      AOC-CR-200, Rev. 12/18, © 2018 Administrative Office of the Courts
                                                                                     0017

                 Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 18 of 53
                                               CONDITIONS OF RELEASE MODIFICATIONS
The Conditions of Release on the reverse are modified as follows:
                               Modification                                      Date        Signature Of Judicial Official




                                                                                                                                                         4




                                                                                                                                               : :




                                               SUPPLEMENTAL ORDERS FOR COMMITMENT
                                                                                                                :
                                                                                                                        :                  :         :
                                                                                                        :                            : :
                                                                                                            :




The defendant is next Ordered produced in Court as follows:
    Date          Time                    Place                        Purpose                Signature Of Judicial Official




                                           DEFENDANT RECEIVED BY DETENTION FACILITY                 :




                      Date                                    Time                          Signature Of Jailer
                                                                                                                            _   -_




                                                                                                                            :




                                          DEFENDANT RELEASED FOR COURT APPEARANCE
                                                                                                                    :




                       Date                                   Time                          Signature Of Jailer




 NOTE TO CUSTODIAN: This form shail accompany the defendant to court for alf appearances.
  AOC-CR-200, Side Two, Rev. 12/18
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                                                                     0018

             Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 19 of 53
                 o




         CRIMINAL COMPLAINT FOR A WARRANT OF SUMMONS-DOMESTIC VIOLENCE


                                                  Complaint Number: 2003        (00608530]
VICTIM NNFORMATION




SUSPECT INFORMATION
Name:    Seven GieldS                Race:    WITT ey.         Date of
                                                                                          4
                                                                                   3-19 Age: 33
Home Address/City/State/Zip code:         7407       Fae BluCf             Circle
Phone:                          Driver's License State: ASC Driver's License:

Place of Employment:       wer                      Acedew .
Address/City/State/Zip: {015         WT       HollY ~HunfeySville

What hours/days do they work?             0                                 aw"

QUESTIONS ABOUT THE INCIDENT
1. When (date and time) and where did this happen?          howe
2. What did the suspect do?      Ow Pvt                                  around     my   peck.
  aud Cho                   me
3. Did the suspect threaten you? [ ] No M] Yes /f yes, what did the suspect threaten to do?
                                         Do you believe the suspect would do that? [ ] No [X} Yes
4. Were you injured? [      [X] Yes if yes do you have any visible bruises cuts or other injuries?
                         ] No
Please describe: Alo                   @bevise but                     aid hove her
5. Did the defendant use a weapon? [4] No[ ] Yes     If yes, what kind?

6. Was any property damaged? [4]No[ ] Yes /fyes, what was damaged and give amount ($) of
damage?
7. Why did this happen?    Oke       We arauiN              and           ted     we do                   vp.
                                        CONTINUED-ON BACK >
                                                                                     Magistrate P$1-08/2018




                                                   0019

          Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 20 of 53
8. Did anyone other than you and the suspect see/near this happen? [            ] No   [Al Yes
Name             Address          Phone Number                       Relationship to you        Child/Adult
T have            avdio      record             thee               Shaped     with        Mother a
                                                                                                                               F
9      at o you 'wantt e courts                       oy
                                                                                                                          ww


10. Have you ever taken a warrant out on the suspect? /f yes, state what charge, when and what
happened in court,    AS
11. Has the suspect ever taken a warrant out on yt2u? If yes, what charge, when and what happened

in   courtVO
12. What is your relationship tothe suspect?        %      Spouse/Ex-spouse                dating relationship
            Child/Parent/Family Member          Other (Explain)

13. Have you ever lived together? [   ] No   K] Yes
14. Has this ever happened before? [    ] No KX] Yes"

       lf yes, how many times and when (dates):             rece                de
15. Did the police come out? [ ] No [X] Yes Did they make areport?[             ] No   [x] Yes
16. What do you want the court to do?                      ovdar Arrest         >      OUT of        hovGe.
17. Do you have a                                          ] Yes

18. What else can'you tell us about the incident:          he        vee             Fo             me
       are. Some              atte     _
                                                            1 Weve audio               recording S of
     'uci dank
THE INFORMATION PROVIDED IN THIS CRIMINAL COMPLAINT IS TRUE TO THE BEST OF MY
KNOWLEDGE AND BELIEF, UNDER PENALTY OF PERJURY,



                                                              Signature

                                                           10-07          -
                                                                              Ad?
                                                              Date
Magistrate Comments:




                                                                                                 Magistrate PS1-08/2018




                                                    0020

          Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 21 of 53
                                                                                                         File No
 STATE OF NORTH CAROLINA                                                                                               sacrazo7e9-550
               E                      B                                                                  In The General Court Of Justice
                                                           County                                       District      [] Superior Court Division
                                       STATE VERSUS
Name And Address Of Defendant
SARAH FIELDS                                                                                            CONDITIONS OF RELEASE
7407 Pine Bluff Cir                                                                                      AND RELEASE ORDER

Charlotte                                                             NC         28214-2133                                                                    G.S. Chapter 15A Art .25, 26
                                                                                                     Process No.                                   Amount Of Bond
                                                                                                     # RO-23-711649                                $                   1,000.00
File Numbers And Offenses
                                  WEA; M COMMUNICATING THREATS; M SIMPLE ASSAULT:
23CR429789-590
                                        -                                 -




    See Attachment.
Location Of Court                                                                                                                               Date               Time
                                                                                       Superior                     District
                                                                                                               9:00 AM
Mecklenburg Co. Courthouse, Courtroom 4130                                                      04/08/2024
 To The Defendant Named Above, you are ORDERED to appear before the Court as provided above and at all subsequent continued dates.
 If you fail to appear, you will be arrested and you may be charged with the crime of willful failure to appear. You also may be arrested without a
 warrant if you violate any condition of release in this Order or in any document incorporated by reference.
 The defendant has been advised of charge(s) against him/her and his/her right to communicate with counsel and friends.
  x   Your release is authorized upon execution of your    WRITTEN PROMISE to appear                                  x
                                                                                               UNSECURED BOND in the amount shown above
          CUSTODY RELEASE              SECURED BOND n the amount shown above (NOTE: Give a copy ofthis order to any surety who posts bond.)
      C HOUSE ARREST with ELECTRONIC MONITORING administered by agency)                                                             and the SECURED
          BOND above. You may leave your residence for the purpose(s) of      employment          counseling      course of study    vocational training
                                                                                                                                              _




            PD APPOINTED


       Your release is not authorized.
       The defendant is required to provide (check ail that apply)      fingerprints under G.S. 154-502.      a DNA sample under G.S. 15A-266.3A.
       Prior to release the defendant shall provide his/her (check all that apply)     fingerprints.     DNA sample.
       The defendant has been          (i) charged with a felony while on probation (complete AOC-CR-272, Side One)       (ii) arrested for violation of probation
       with a pending felony charge or prior conviction requiring registration under G.S. 14, Article 27A (complete AOC-CR-272, Side Two).
       This Order is entered upon defendant's warrantless arrest for violation of conditions of release entered previously for the above-captioned case in the
       Order dated
  x The defendant is charged with an offense subject to G.S. 15A-534.1, and no judge has acted under that statute within 48 hours of defendant's arrest.
 C The defendant was arrested or surrendered after failing to appear as required under a prior release order.
       This was the defendant's second or subsequent failure to appear in this case.
       Your release is subject to the conditions as shown on the attached [7]AOC-CR-242.                                       AOC-CR-270.        -]AOC-CR-630.            []AOC-CR-631.
                                                                                               L]AOC-cR-660.                   Other:
Additional Information




Date                 Name Of Judicial Official                                Signature Of Judicial Official                            Magistrate       Deputy CSC      Assistant CSC
  10/09/2023         HONORABLE M NEWTON. by and through Marcia Caviness                                                                 Clerk Of Superior Court     DC Judge       SC Judge
                                                                               ORDER OF COMMITMENT
 To The Custodian Of The Detention Facility Named Below, you are ORDERED to receive in your custody the defendant named above who may be
 released if authorized above. If the defendant is not sooner released, you are ORDERED to:          produce him/her in Court as provided above.
 L]hold him/her              []
                         as provided on the attached AOC-CR-272.             for the following purpose:

                                                                                                                                                                                      entry
                r   er       if                             (for G.S 15A-534.8 enter date and time 24 hours after arrest; for all others, 48 hours after arrest)
                         ,   produce him/her before a magistrate of this county at that time to determine conditions of pretrial release.
Name Of Detention Facility                                  Date                      Name Of Judicial Official                               Signature Of Judicial Official
MECK COUNTY JAIL                                                10/09/2023           HONORABLE M NEWTON, by and through Marcia Caviness

                                                                                             0021
  AOC-CR-200, Rev. 10/23, © 2023 Administrative Office of the Courts
                                                                                               (Over)
                                                                                                                                                                      Domestic VRA Case

                    Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 22 of 53
                                           WRITTEN PROMISE TO APPEAR OR CUSTODY RELEASE
 |
  , the undersigned, promise to appear at all hearings, trials or otherwise as the Court may require and to abide by any restrictions set out above.

   understand and agree that this promise is effective until the entry of judgment in the District Court from which no appeal is taken or until the entry of
 judgment in Superior Court. If am released to the custody of another person, agree to be placed in that persons custody, and that person agrees by
 his/her signature to supervise me.
Date                      Signature Of Defendant                                 Signature Of Person Agreeing To Supervise Defendant

Name Of Person Agreeing To Supervise Defendant (type or print)                   Address Of Person Agreeing To Supervise Defendant


                                                            DEFENDANT RELEASED ON BAIL
Date                                       Time                                   Signature Of Custodian


                                                      CONDITIONS OF RELEASE MODIFICATIONS
The Conditions of Release on the reverse are modified as follows:
                                    Modification                                          Date                       Signature Of Judicial Official




                                                    SUPPLEMENTAL ORDERS FOR COMMITMENT
The defendant is next Ordered produced in Court as follows:
       Date           Time                        Place                        Purpose                               Signature Of Judicial Official




                                                   DEFENDANT RECEIVED BY DETENTION FACILITY
                          Date                                     Time                                        Signature Of Custodian




                                              DEFENDANT RELEASED FOR COURT APPEARANCE
                          Date                                     Time                                        Signature Of Custodian




NOTE TO CUSTODIAN: This form shall accompany the defendant to court for all appearances.
 AOC-CR-200, Side Two, Rev. 10/23
     © 2023 Administrative Office of the Courts                           0022

                  Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 23 of 53
                                                                                                                     File No
 (TYPE OR PRINT IN BLACK INK)                                                                                        23CR429789-590

  STATE OF NORTH CAROLINA                                                                                        Adatnonal File Nos.



 Mecklenburg County
                                                                                                                           In The General Court Of Justice
                                                                                                                                   District Court Division
Name Of Defendant, Petitioner, Respondent
Sarah Fields
Street Address Of Defendant, Petitioner, Respondent
7407 Pine Bluff Cir
Charlotte NC 28214-2133
                                                                                                                 ORDER OF ASSIGNMENT
Permanent Mailing Address Of Defendant, Petitioner, Respondent (if different than above)
                                                                                                                           OR
                                                                                                                   DENIAL OF COUNSEL

Telephone Number Of Defendant, Petitioner, Respondent


X Check here if defendant    is in jail                                                                  G.S. 7A-146(11), 7A-292(15), 7A-450, 7A-451(a), 15A-1340.23(d)
Date Of Offense             Most Serious Class Of Offense
10/01/2023;                 COMMUNICATING THREATS; SIMPLE ASSAULT
10/01/2023
Offense(s)
See Offense Listing on Side Two.
INSTRUCTIONS: The Court should complete Part I. or IT. of this form. Do not use this form for first-degree murder cases or murder cases where the
degree is undesignated, except for cases where the defendant was under 18 years of age at the time of the offense, or for capital post-conviction cases or
appeals to the Court of Appeals or Supreme Court. For adult first-degree murder cases or murder cases where the degree is undesignated at the trial level,
the Office of Indigent Defense Services will use form AOC-CR-624. For capital post-conviction cases, the Office of Indigent Defense Services will use form
AOC-CR-625. For appellate cases, the Court will use form AOC-CR-350.
                                                                   I. ASSIGNMENT OF COUNSEL
 From the petition heard in this matter, the affidavit made by the applicant named above, and the inquiry made by the Court, which is
 documented in the record, it is determined that the applicant is not financially able to provide the necessary expenses of legal
 representation, and: (check one)
 O 1. is charged with a Class 3 misdemeanor that was committed on or after December1,2013, and: (check one)
        O a. the Court has found that the defendant has more than three prior convictions; it is ORDERED that the applicant is indigent
                 and is entitled to the services of counsel as contemplated by law.
        O b. the Court has not found at this time that the defendant has more than three prior convictions, the defendant is in custody,
                 the Court does not intend at this appearance to modify the defendant's conditions of release to allow the defendant to be
                 released pending trial without posting a secured bond, and the defendant has a constitutional right to meaningful access
                 to the courts; it is ORDERED that the applicant is indigent and is entitled to the services of counsel as contemplated by
                 law; and that the attorney named below or the public defender in the judicial district shall provide representation that is
                 limited pursuant to G.S. 15A-141(3) and 15A-143 to the time period of the applicant's pretrial confinement on the Class 3
                 misdemeanor charge.

 XX 2. is charged with a felony, a misdemeanor other than a Class 3, or a Class 3 misdemeanor that was committed before December 1,
       2013, or is a petitioner or respondent in a proceeding or action listed in G.S. 7A-451(a);
             List G.S. 7A-451(a) action, felony, or non-Class 3 misdemeanor:
             Therefore, it is ORDERED that the applicant is indigent and is entitled to the services of counsel as contemplated by law; and that
             the attorney named below or the public defender in this judicial district shall provide representation.

 It is further   ORDERED the defendant shall be represented by:
             O the attorney named below.               [X] the public defender in this judicial district.
Name Of Appointed Attorney (if appli¢efieko23 3:57:56 PM                                       Next Court Date
PUBLIC DEFENDER                                                                                4/8/2024
Date
10/10/2023                                                                                                              vudge          C1 Clerk Of Superior Court   Asst. CSC
                                                                                                                    C Deputy csc C1 Magistrate
NOTE: A magistrate may appoint counsel if designated to do so by the Chief District Court Judge. See G.S. 7A-146(11) and G.S. 7A-292(15).

                                                      Material opposite unmarked squares is to be disregarded as surplusage.
                                                                                           (Over)
  AOC-CR-224 (ICMS), Rev. 4/23
  © 2023 Administrative Office of the Courts
                                                                                  0023

                  Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 24 of 53
                                                              II. DENIAL OF COUNSEL
 From the petition heard in this matter, the affidavit made by the applicant named above, and the inquiry made by the Court, which is
 documented in the record, it is determined that the applicant: (check aif that apply)
       1.   is charged with a felony, a misdemeanor higher than a Class 3, or Class 3 misdemeanor that was committed before
                                                                                 Cca


             December 1, 2013, but will not receive an active or suspended term of imprisonment if he/she is convicted of the offense(s) for
            which he/she is charged; it is ORDERED that the defendant's petition is denied.
 L] 2. is charged with a Class 3 misdemeanor that was committed on or after December1,2013, the Court has found that the defendant
            has fewer than four prior convictions, and the case shall proceed as a fine only case; it is ORDERED that the defendant's petition
            is denied.
 O 3. will not receive an active or suspended term of imprisonment if he/she is found in contempt; it is ORDERED that the defendant's
            petition is denied.
 O 4. is financially able to provide the necessary expenses of legal representation; it is ORDERED that the applicant is not indigent and
            his/her petition is denied.

Date                        Signature
10/10/2023                                                                                        CI Judge        C Clerk Of Superior Court   Asst. CSC
                                                                                                     Deputy csc      Magistrate


 NOTE: A magistrate may appoint counsel if designated to do so by the Chief District Court Judge. See G.S. 7A-146(11) and G.S. 7A-292(15).

                                                                       OFFENSE LISTING
 Offense(s) (list offense(s) only if file no. has not been assigned)
 COMMUNICATING THREATS; SIMPLE ASSAULT




 AOC-CR-224 (ICMS), Side Two, Rev. 4/23
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                                                                          0024

                 Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 25 of 53
                                                                                                          File No
   STATE OF NORTH CAROLINA                                                                                23CR429789-590
                                                                                                                In The General Court Of Justice
   Mecklenburg County                                                                                                       District Court
                  STATE VERSUS
  Name Of Defendant                                                                                      ORDER TO MODIFY
  Sarah Fields
                                                                                                   CONDITIONS OF RELEASE
                                                                                 Process No.                                   Amount Of Bond
                                                                                 #WEA-23-707603
  File Numbers And Offenses
   23CR429789-590                     COMMUNICATING THREATS
                                      SIMPLE ASSAULT


                                     G.S. 15A-533 ELIGIBILITY FOR CONDITIONS OF RELEASE FINDINGS
                                                 Only a judge may determine whether release is appropriate.
    Serious Felony Offenses
    Only a district or superior court judge may consider release in his or her discretion. Defendant may be held without conditions of release in the discretion
    of the presiding judge.
    [] The defendant is charged with an offense enumerated in G.S. 15A-533(b): first or second degree murder (or attempt to commit
       either),   first or second degree kidnapping, [] first or second degree forcible rape or sex offense, [] statutory rape or statutory
       sex offense, [] human trafficking,    assault with a deadly weapon with intent to kill inflicting serious injury, [] discharging a
       weapon into occupied property, [] first degree burglary, [] first degree arson or [] robbery with a firearm or other dangerous
        weapon.
    Trafficking Offenses
    Only a district or superior court judge may consider release upon a finding that the defendant has overcome the rebuttable presumption that no condition
    of release will reasonably assure the defendant's appearance and that defendant's release poses an unreasonable risk to the community.
    (G.S. 15A-533(d), (e), or (f).)
    [] There is reasonable cause to believe that the defendant committed an offense involving trafficking in a controlled substance AND
            The drug trafficking offense was committed while the defendant was on pretrial release for another offense; AND
            the person has previously been convicted of a Class A through E felony or an offense involving trafficking in a controlled
        substance and not more than five years has elapsed since the date of the conviction or the person's release from prison for the
        offense, whichever is later. G.S. 15A-533(d)
    Criminal Street Gang Offenses
    Only a district or superior court judge may consider release upon a finding that the defendant has overcome the rebuttable presumption that no condition
    of release will reasonably assure the defendant's appearance and that defendant's release poses an unreasonable risk to the community.
    (G.S. 15A-533(d), (e), or (f.)
    [] There is reasonable cause to believe that the defendant committed an offense for the benefit of, at the direction of, or in association
       with, any criminal street gang, as defined in G.S. 14-50.16A. AND [] The offense was committed while the defendant was on pretrial
       release for another offense; AND [] the person has previously been convicted of an offense described in G.S. 14-50.16 through
        14-50.20 or (ii) has been convicted of a criminal offense and received an enhanced sentence for that offense pursuant to
        G.S. 15A-1340.16E, and not more than five years has elapsed since the date of conviction or the person's release whichever is later.
        G.S. 15A-533(e)
    Firearms Offenses
    Only a district or superior court judge may consider release upon a finding that the defendant has overcome the rebuttable presumption that no condition
    of release will reasonably assure the defendant's appearance and that defendant's release poses an unreasonable risk to the community.
    (G.S. 15A-533(d), (e), or (f).)
    [] There is reasonable cause to believe that the defendant committed an offense involving the illegal use, possession, or discharge of a
       firearm which is a felony or class A1 misdemeanor AND       The offense was committed while the person was on pretrial release for
       another felony or Class A1 misdemeanor involving the illegal use, possession, or discharge of a firearm OR [] the person has
        previously been convicted of a felony or Class A1 misdemeanor involving the illegal use, possession, or discharge of a firearm and
        not more than five years has elapsed since the date of the conviction or the person's release from prison for the offense, whichever is
        later. G.S. 15A-533(f).

    Defendant charged with new offense while on pretrial release:
        defendant is charged with a new offense while on pretrial release for another offense.




CRF-20 (ICMS), Page 1 of 3, 9/2023                                        0025

                 Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 26 of 53
                                     G.S. 15A-534 FINDINGS TO DETERMINE CONDITIONS OF RELEASE
    XX] Nature and circumstances of the offense charged

             [XX] Domestic  Violence: defendant is charged with assault on, stalking, communicating a threat to, or committing a felony upon a
                 spouse, former spouse, a person with whom the defendant lives or has lived as if married, or a person with whom the
                 defendant is or has been in a dating relationship as defined in G.S. 50B-19(b)(6).

             [] Threats of Mass Violence. The defendant is charged with communicating a threat of mass violence on educational property
                 in violation of G.S. 14-277.6 or communicating a threat of mass violence at a place of religious worship in violation of
                 G.S. 14-277.7.
    [XX] Weight of the evidence against the defendant

    [] The defendant's family ties, employment, financial resources, character and mental condition
    [] The defendant intoxicated to such a degree that he would be endangered by being released without supervision
    O Length of residency in the community
         Record of convictions
    O History of flight to avoid prosecution or failure to appear at court proceedings
           O The defendant was arrested or surrendered after failing to appear as required under a prior release order;
           O This was the defendant's second or subsequent failure to appear in this case.
    [] This finding is entered upon defendant's warrantless arrest for violation of conditions of release entered previously for the
         above-captioned case in the Order dated
    []   Defendant has violated previously imposed conditions of release imposed by order entered on                in that defendant

    [XX] Other No prior or pending matters

    New Felony Charge While on Probation:
    L] defendant is charged with a felony AND the defendant is on probation. O the defendant poses a danger to the public, and therefore
       will be held on a secured bond or a secured bond with house arrest; or O the defendant does not pose a danger to the public, and
         therefore conditions of release are set out as provided in G.S. Chapter 15A, Article 26 or   O  there is insufficient information to
         determine whether the defendant poses a danger to the public, and the undersigned is in need of the following information:
         The defendant will be brought back no later than           (date) at      (time) no later than 7 days from arrest to determine
         conditions of release (or sooner if the information is obtained). G.S. 15A-534(d2).
    Conditions of release for probation violation arrest with pending felony:
    []defendant is arrested for violating probation AND the      []
                                                              defendant is charged with a felony or         []  has been convicted of an offense
         at any time that requires registration under Article 27A of Chapter 14 of the General Statutes or an offense that would have required
         registration but for the effective date of the law establishing the Sex Offender and Public Protection Registration Program. The
         judicial official must determine conditions of release as follows:[]    the defendant poses a danger to the public, and therefore release
         is denied pending the defendant's probation revocation hearing as ordered and pursuant to G.S. 15A-1345(b1)(1); or         O  the
         defendant does not pose a danger to the public, and therefore conditions of release are set out as provided in G.S. Chapter 15A,
         Article 26 or []   there is insufficient information to determine whether the defendant poses a danger to the public, and the
         undersigned is in need of the following information:           . The defendant will be brought back no later than       (date) at
         (time) no later than 7 days from arrest to determine conditions of release (or sooner if the information is obtained).
         G.S. 15A-1345(b1).




CRF-20 (ICMS), Page 2 of 3, 9/2023                                    0026

                 Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 27 of 53
                                                      G.S. 15A-534 ORDER: CONDITIONS OF RELEASE
    You are ORDERED to appear before the Court as provided below and at all subsequent continued dates. If you fail to appear, you will
    be arrested, and you may be charged with the crime of willful failure to appear. You are to commit no crimes while you are on pretrial
    release. You also may be arrested without a warrant if you violate any condition of release in this Order or in any document incorporated
    by reference.
    Location of Court:       District Court Date:             Time:
    Based on the above findinas, the undersiqned hereby orders the following conditions of release:
       Your release is not authorized.
         You shall be released upon a written promise to appear.
    Dx] You shall be released upon the execution of an unsecured appearance bond in the amount of: $1,000.
         You shall be released to the custody of the following person or organization agreeing to supervise you:             (name of designated
         person or organization).
         You shall be released to Mecklenburg County Pretrial Services in accordance with their terms of supervision is authorized.
         G.S. 15A-535(b);
         You are required to post an appearance bond in the amount of $            secured by a cash deposit of the full amount of the bond, or
         by a mortgage pursuant to G.S. 58-74-5, or by at least one solvent surety. Other conditions of release        will not assure your
         appearance,    [] will pose a danger of injury to any person, or  is likely to result in destruction of evidence, subornation of perjury,
         or intimidation of witnesses.


    Additional Conditions for Conduct while waiting for trial. (You must comply with these additional conditions of release. These
    conditions apply even if you are not released from custody).
         Sex crimes against children or crimes of violence against children. You are charged with a crime involving a child. You must stay
         away from the home, temporary residence, school, business or place of employment of the alleged victim. You must refrain from
         communicating or attempting to communicate, directly or indirectly with the victim, except under circumstances specified in an order
         entered by a judge with knowledge of the pending charge and you must refrain from assaulting, beating, intimidating, stalking,
         threatening or harming the alleged victim. ****If deviating from these requirements, the judicial fact finder must make written findings
         as to why this is not in the best interest of the victim. G.S. 15A-534.4.
    [X] Domestic violence. You are charged with a crime involving domestic violence.
        XI No contact. You must stay away from the home, temporary residence, school, business or place of employment of the alleged
            victim.
         XX] No communication. You must stay away from the home, temporary residence, school, business or place of employment of the
            alleged victim.
         XX Do not threaten, assault, beat, intimidate, stalk or harass the alleged victim.
            Do not remove, damage or injure the property listed.
            You may visit your child or children at times and places provided by the terms of any existing order entered by a judge.
            You may retrieve personal property from a shared residence only with the assistance of Law Enforcement.
    LE] Violent crime / crimes involving a firearm. You are charged with a violent crime, or a crime involving a firearm.       You are to have
        no contact with any alleged victims. You may not possess any firearms while you wait for disposition of your case. Law enforcement
        may check at appropriate times for lawful compliance of this condition while you are subject to electronic monitoring. (See Electronic
        Monitoring Order for additional conditions with that program). All other provisions of this order are incorporated into your conditions of
         release.
         You are required to comply with the CMPD Electronic Monitoring Program:
            CURFEW: You will have a 6pm to Gam curfew or          You will be at home for 24 hours.
            CMPD is authorized to extend or modify curfew hours or approve address changes without further court order.
                         /


            Territorial No Contact Restrictions: (must use for release upon threat of mass violence) / or in discretion of judicial official:

            Other:


    To The Custodian Of The Detention Facility of Mecklenburg County you are ORDERED to receive in your custody the
    defendant named above who may be released if authorized above. If the defendant is not sooner released, you are ORDERED
    to: produce him/her in Court as provided above.
  Date                               Judicial Official's Name/Title                        Signature
  10/09/2023                         Matthew Newton                                                         S gned: 10/9/2023   :24:13 PM




CRF-20 (ICMS), Page 3 of 3, 9/2023                                    0027

                 Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 28 of 53
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                  File No.                                                                Law Enforcement Case No.                             LID No.
                                              23CR429789-590
                           WARRANT FOR ARREST                                   1

                                                                                1




                     THE STATE OF NORTH CAROLINA VS.
             Name And Address Of Defendant
             SARAH FIELDS                                                                  STATE OF NORTH CAROLINA                                         In The General Court Of Justice
             7407 Pine Bluff Cir                                                                                                                                  District Court Division
                                                                                                       MECKLENBURG
                                                                                                                                           County
                               Charlotte                           NC    28214-2133
                  Mecklenburg COUNTY                                        A                                                      OFFENSES) (see ACC-CR-100 Continuation(s) for charging text)
                                                                                           Count                                                                                                   Offense In Violation           Offonsa
                                                                                                                                               Offense
                                                                                                                                                                                                            OFG.S.                 Code
             Race                   Sex               Date Of Birth
                      W                                     01/03/1990
                                                                          Age!
                                                                                    {33                        M COMMUNICATING THREATS
                                                                                                                    -                                                                                       14-277.1                5328

             Namo Of Defendant's Employer                                                     2                   M SIMPLE ASS AULT-                                                                        14-33(A)                1368

=            Date Of Offense
                   10/01/2023
                 Misdemeanor Offonso Which Requires Fingerprinting Por
                 Fingerprint Pian
             Date Of Arrest & Check Digit No. fas shown on fingerprint card) .


             Complainant Name (and address, if Complainant is an officer)
    +




             Witness information




              TO ANY OFFICER WITH AUTHORITY AND JURISDICTION TO EXECUTE A WARRANT FOR ARREST FOR THE OFFENSE(S) CHARGED IN THIS WARRANT:
              |, the undersigned, find that there is probable cause to believe that on or about the date of offense shown and In the county named above the defendant named above
              unlawfully, willfully, and feloniously did commit the offense(s) set forth above and on the attached AOC-CR-100 Continuation(s), which Is (are) incorporated by reference.
              This act(s) was in violation of the law referred to in this Warrant For Arrest. This Warrant For Arrest Is Issued upon Information furnished under oath by the complainant
              listed. You are DIRECTED to arrest the defendant and bring the defendant before a Judictal officlai without unnecessary delay to answer the charge(s) above.

             Date Issued              Name Of Issuing Official                      :              Signature                                                (X] Magistrate   (deputyesc      [(]Assistant csc          Clerk Of Superior Court
                  10/07/2023          N.Weeks                                                                                                                  District Court Judgo    Superior Court Judge
        "|

             Location Of Court                                                                                               Court Date                                               Court Time


                                                                                                    WAIVER OF PROBABLE CAUSE HEARING
              The undersigned defendant, with the consent of his/her attorney, waives the right to a probable cause hearing.
             Date Waived                  Signature Of Defendant                                               Namo Of Attiomey                                                       Signature OfAttomey

                                                                                                                             0028
                                                                                                                                  (Over)
                  AOC-CR-100, Rev. 3/23, © 2023 Administrative Office of the Courts                                                                                                          Domestic VRA Case
                                                                   Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 29 of 53
                                                                                                                                     File No
                     STATE VERSUS                                            MECKLENBURG
                                                                                                          County                                      23CR429789-590
Name Of Defendant
SARAH FIELDS
Date Of issuance Of Warrant For Arrest
                                                              NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-100. G.S. 15A-924(a)(5)
                               10/07/2023
                                                                            OFFENSES (continued)
   Count 1.       Offense:     M COMMUNICATING THREATS
                                   -




Charging Text For This Count
 On or about the date of offense shown and i n the county named above the defendant unlawfully and willfully did threaten to physically injure the person of            . The

 threat was communicated to                      by, ORALLY STATED IN PERSON TO THE VICTIM SHE WOULD KILL HIM AND THAT HE WOULD BE DEAD BY THE
 END OF THIS YEAR, NEXT YEAR AT THE VERY LATEST. SHE WAS VERY SPECIFIC IN HER TIMELINE. and the threat was made in a manner and under circumstances
 which would cause a reasonable person to believe that the threat was likely to be carried out and the person threatened believed that the threat would be carried out.
                                                    1




   Count 2.       Offense:         -
                                         SIMPLE ASSAULT
Charging Text For This Count
 On or about the date of offense shown and in the county named above the defendant unlawfully and willfully did assault and strike                    by HITING THE VICTIM
 ACROSS HIS HEAD AND BODY WITH A CLOSED FIST BEFORE PLACING BOTH HANDS AROUND HIS NECK AND BEGAN CHOKING HIM




   AOC-CR-100 Continuation, Rev. 3/23                                                0029
   © 2023 Administrative Office of the Courts                                                                       Continuation Page            of       Continuation Pages
                                            Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 30 of 53
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                                                                                                                                          File No
                     STATE VERSUS                                                 MECKLENBURG
                                                                                                               County                                    23CR429789-590)
 Name Of Defendant
 SARAH FIELDS
 Date Of Issuance Of Warrant ForArrest
                                                                   NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-100. G.S. 15A-924(a)(5).
                                10/07/2023
                                                                                 OFFENSES (continued)
    Count 3.      Offense:
 Charging Text For This Count




    Count 4.      Offense:
 Charging Text For This Count




                                                                                                                                                                 a




    AOC-CR-100 Continuation, Rev. 3/23                                                    0030
    © 2023 Administrative Office of the Courts                                                                            Continuation Page __ of              Continuation Pages
                                                   Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 31 of 53
                                         arse


                                                                                                                                       File No
                     STATE VERSUS                                              MECKLENBURG
                                                                                                            County                                      23CR429789-590
Name Of Defendant
SARAH FIELDS
Date Of Issuance Of Warrant For Arrest
                                                                NOTE: Use this page to set forth the charging text for each cifense listed on the AOC-CR-100. G.S. 15A-924(a)(5).
                               10/07/2023
                                                                              OFFENSES (continued)
   Count5.        Offense:
Charging Text For This Count




   Count6.        Offense:
Charging Text For This Count




   AOC-CR-100 Continuation, Rev. 3/23                                                  0031
   © 2023 Administrative Office of the Courts                                                                          Continuation Page           of       Continuation Pages
                                                Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 32 of 53
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                                                                                                                                       File No.


Name Of Defendant
                     STATE VERSUS                                              MECKLENBURG
                                                                                                            County                 S                    23CR429789-590

SARAH FIELDS
Date Of Issuance Of Warrant For Arrest
                                                                NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-100. G.S. 15A-924(a}(5).
                               10/07/2023
                                                                              OFFENSES (continued)
   Count7.        Offense:
Charging Text For This Count




   Counts.        Offense:
Charging Text For This Count




   AOC-CR-100 Continuation, Rev. 3/23                                                  0032
   © 2023 Administrative Office of the Courts                                                                          Continuation Page           of   _   Continuation Pages
                                                Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 33 of 53
                                                                                                                                   File No.
                     STATE VERSUS                   ;
                                                                           MECKLENBURG
                                                                                                        County.                                     23CR429789-590
Name Of Defendant
SARAH FIELDS
Date Of issuance Of Warrant For Arrest
                                                            NOTE: Use this page fo set forth the charging text for each offense listed on the AOC-CR-100. G.S. 15A-924(a)(5).
                               10/07/2023
                                                                          OFFENSES (continued)
   CountS.        Offense:
Charging Text For This Count




   Count 10.        Offense:
Charging Text For This Count




   AOC-CR-100 Continuation, Rev. 3/23                                              0033
   © 2023 Administrative Office of the Courts                                                                     Continuation Page            of   ___   Continuation Pages
                                            Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 34 of 53
@




                                                                                                                                                                               Fite No
                             STATE VERSUS                                                                    MECKLENBURG                         County                                          23CR429789-590
        Name Of Defendant                                                         NOTE: Use this page to enter judgment on a Warrant For Arrest. Use this Judgment page only ifimposing a single, consolidated judgment
        SRAH FIELDS                                                                          for ail offenses of conviction charged under this file number. Do not use this Judgment page to impose sentence (i)            separate
        Date Of issuance Of Warrant For Arrest                                              judgments for separate offenses of conviction charged under this file number, (ii)to impose supervised probation or (ii) for DWi sentences
                                    10/07/2023                                              (active) orAOC-CR-604 (probation
                                                                                                                      JUDGMENT
        District Atomey                                          bet. Waived Attomey   []   Def. Found Not indigent   Atomey For Defendant                                 Appointed
                                                                                                                                                                           ]Retaned      Nostovel:
                                                                                                                                                                                                      PRIOR CONVICTIONS:
                                                                                                                                                                                                      0O10) _O uit)                mise
                                                                 Det, Denied Appointed Counse!


        OFFENSES: The following offenses, which are set orth by Count No. in the Warrant Forr Arrest issued in this case on the date noted above for the defendant named above, are the
        subject of this Judgment:

        Count1        PLEA: []guilty {]not guilty Ono contest                                                           veroict: ([] guilty [] not guilty                                    mci : Cat 21 D2                   3


        Count2        PLEA: (]guilty             not guilty   [Jno contest                                              VERDICT:      guilty   [J not guilty                                 mci : OAi 21 OJ2                  3


        Count3        PLEA: [guilty (CJnot guilty Ono contest                                                           VERDICT:      guilty   []not guilty                                  mc: Fai 01                        3

    "
        Count4        PLEA: []guilty (Jnot guilty Ono contest                                                           VERDICT: [[] guilty       not guilty                                 M.CL.: Oa1      D1 CI2 IIIB

    .   GountS        PLEA:    [] guilty (Jnot guilty O no contest                                                      verDICT:      guilty   ([] not guilty                                mct :               1   D2 03
    "
        Count6        PLEA: C]guilty        (J not guitty ([}no contest                                                 VERDICT:      guilty   [[]not guitty                                 M.CL.:


        Count?        PLEA: []guiity LJnot guitty ()no contest                                                          veroict: C]quitty [Jnot guilty                                       mc.             EI1EIZ D3
        CountS8       PLEA:    [J guilty         not guilty   Ono contest                                               VERDICT: [quitty [not guilty                                         mci : Gai               D2 O3

        Count9        PLEA: LJ gullty CJnot guilty Ono contest                                                          VERDICT: O guilty [not guilty                                        M.CL.:           01        2      3


        Count10       PLEA:        guilty   []not guilty Ono contest                                                    VERDICT: []guilty [J] not guilty                                     mci : Dai               D2 C3




                                                                                                                           (Over)


           AOC-CR-100 Judgment, Rev. 3/23                                                                               0034
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                                                        Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 35 of 53
                                                                                                                                                                                           File No.
                             STATE VERSUS                                                                       MECKLENBURG
                                                                                                                                                          County                                             23CR429789-590
    Name Of Defendant
                                                                                     "NOTE: Use this Judgment page only           imposing a single, consolidatedjudgment for all offenses of conviction charged under this fle number. Do not use this
-
    ISARAH FIELDS                                                                                Judgment page to impose sentence: () if imposing separate judgments for separate offenses of conviction changed under this fle number, {i) ta impase
                                                                                                           probation; or (il) for DW sentences under G.S. 20-179. For DWi, use AOC-CR-342 (active) or AOC-CR-310 (probation). For structured sentencing
                                                                                                 offenses, use AOC-CR-602 (active)                    (probation).

                                                                                                                JUDGMENT (continued)
    JUDGMENT: The defendant appeared in open court and freely, voluntarily and understandingly entered the plea(s) on Side One. On the verdict(s) from Side One, it is ORDERED that all offenses of
    conviction, if mare than one, be consofidated for judgment with Count No,     (list count of lead offense) and that the defendant:
                                                            Amount Of Fine/Penalty               Costs
    Oaay the foltowing fine/penalty and costs:               $                                   $
                                                                                                                 *
         be imprisoned for a term of             days in custody ofthe          sheriff [JMcP. []Other:                                                                   Pretrial credit          days served.
         Work release        []is
                                recommended.             Lis
                                                         not recommended          (NOTE: To order work release, use form AOC-CR-602 to impose judgment.)
         The Court finds that a        tonger oshorter period of probation than that which is specified iin G.S. 154-1343.2(d) is necessary.
         Execution of the sentence is suspended and the defendant is placed on unsupervised probatian® for                   months, subject to the following conditions:
              1. commit no criminal offense in any jurisdiction.   2. possess no firearm, explosive or other deadly weapon listed in G.S. 14-269.
              3. remain gainfully and suitably employed, or faithfully pursue a course of study or of vocational training that will equip the defendant for suitable employment and abide by all rules of the institution.
             4. satisfy child support and family obligations, as required by the Court.     5. Submit to the taking of digitized photographs, including photographs of the defendant's face, scars, marks, and tattoos,
                 to be included in the defendant's records.    6, pay to the Clerk the costs of court and any additional sums shown below.
                  Costs                     Fine                        Restitution®*                Attomey's Feo                Community Service Fee .     Other                       Totat Amount Due
                  $s.                            $                              $                                    $                            $                              $                            $
                 **Name(s), address(es), and amount(s) for a             party(las) to receive restitution: (NOTE TO CLERK: Record SSN or Tax ID No. of aggrieved pantyfies) on AOC-CR-382, "Certification Of identity (Victims' Restitution)/
                 Certification OF identity (Witness Attendance, pgrieved


               7. complete              hours of community service during the frst                   days of probation, as directed by the judicial services coordinator, and pay the fee prescribed by G.S, 1438-1483 within                       days.
         []    8. not be found in or on the premises of the complainant or
               '9. not assault, communicate with or be in the presence of the complainant or

           ]10. provide a DNA sample pursuant to G.S. 15A-266.4. (AOC-CR-319 required}
         (J   11. Other:




    OThe Court finds Just cause to waive costs as ordered on attached [(]AOc-cR-415, [JAoc-cr-618,                                    0 Other:
                          Judgment is continued upon payment of costs.
    {tis ORDERED that this:
                          case be consolidated for judgment with
                      CJsentence is to run at the expiration of the sentence in
    (]                       it
      COMMITMENT: is ORDERED that the Clerk deliver two certified copies of this Judgment and Commitment to the sheriff and that the sheriff cause the defendant to be retained in custody to
                  serve the sentence imposed or until the defendant shall have complied with the conditions of release pending appeal.
    PROBABLE CAUSE:    Probable cause is found as to all Counts except                                               and the defendant is bound over to Superior Court for action by the grand jury.
                       No probable cause is found as to Count(s)                                                                          of this Warrant and the Count(s} is dismissed,
    Date                            Name Of District Court Judge Or Magistrate (type or print)                                           Signature Of District Court Judge Or Magistrate


                                                                                                                     APPEAL ENTRIES
         The defendant, in open court, gives notice of appeal to the                []District            Superior       Court.
         The current pretrial release order is modified as follows:
    Date                            Name Of District Court Judge Or Magistrate (type or print)                                      Signature Of District Court Judge Or Magistrate


                                                                                                                         CERTIFICATION
    |certi fy that this Judgment is a true and complete copy of the original which ts                    Date                       Date Delivered To Sheriff        Signature                                              Dep.csc []Asst. csc
    on file in this case.                                                                                                                                                                                                   Clerk Of Superior Court
                                                                                                                             0035
        -AOC-CR-100 Judgment, Side Two, Rev. 3/23, © 2023 Administrative Office of the Courts
                                                        Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 36 of 53
       dad   wee 0      ory              Bees


                                                                                                                                                           File No
                     STATE VERSUS                                                      MECKLENBURG                          County                                           23CR429789-590
Name Of Defendant
SARAH FIELDS                                                               If the Warrant ForT Arrest is not served within one hundred and eighty (180) days, it must be returned to the Clerk of
Date Of issuance Of Warrant For Arrest                                     Court in the county in which it wasissued with the reason for the failure of service noted thereon
                                10/07/2023
                                                                                                                                                 1




                                                                                          RETURN OF SERVICE
 |
     certify that the Warrant For Arrest issued in this case on the date noted above for the defendant named above, was received and served as follows:
Sate Rece ved                                           Date Served                                  Time Served                                                     te   tumed

                     od                                               Dd
       By arresting the defendant and bringing the defendant before:
        f Juc giat Official
"Mi                                                               J




       The Warrant WAS NOT served for the following reason:



                     Making Return                                                                         Name Of Officer (type or print)

                                                                                                                                   Deel
                                                                                                                                             3


                                                                                                                         Cw
Depért ent       gency Of Officer
                     PD
                                                                                       REDELIVERY/REISSUANCE
Date                    Name Of Clerk (type or print)                                 Signature Of Clark
                                                                                                                                                     [Jeeputycsc [JAssistantcsc     0   Clerk Of Superior Court

                                                                           RETURN FOLLOWING REDELIVERY/REISSUANCE
 |
     certify that the Warrant For Arrest issued in this case on the date noted above for the defendant named above, was received and served as follows:
Date Received                                           Date Served                                   Time Served                                                Date Retumed



 0 By arresting the defendant and bringing the defendant before.:
Name Of Judicial Official



 O The Warrant WAS NOT served for the following reason:


Signature Of Officer Making Retum                                                                          Name Of Officer (type or print)


Department Or Agency Of Officer




     AOC-CR-100 Return Rev. 3/23                                                                     0036
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                                                Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 37 of 53
       a                                                    a




                                                                                                File No
 STATE OF NORTH CAROLINA                                                                                       23CR429789-590

                MECKLENBURG                                                                      In The General Court Of Justice
                                                     County                                     District           Superior Court Division
                                          STATE VERSUS
Name Ang Address Of Defendant
SARAH FIELDS                                                                                   CONDITIONS OF RELEASE
7401 PINE BLUFF CIR                                                                             AND RELEASE ORDER
CHARLOTTE, NC 28214
                                                                                                                                                               G.S. Chapter 715A, Art. 25, 26
                                                                                          Process No.                                     Amount Of Bond
                                                                                          #                                               $
Fila Numbers And Offenses
23CR429789                       14-277.1 (M) COMMUNICATING THREATS
                                 14--33 (A) (M) SIMPLE ASSUALT




   See Attachment.
Locaton Of Court                                                                                                                       Date                        Time
CHARLOTTE MECKLENBURG COUNTY COURT CTRM 5170                           -                                  x distict        Suporior     10/09/2023                      9       x Am           Oem
 To The Defendant Named Above, you are ORDERED to appear before the Court as provided above and at all subsequent conlinued dates.
 {f you fail to appear, you will be arrested and you may be charged with the crime of willful failure to appear. You also may be arrested without a
 warrant if you violate any condition of release in this Order or in any document incorporated by reference.
 The defendant has been advised of charge(s) against him/her and his/her right to communicate with counsel and friends.
      Your release is authorized upon execution of your, []WRITTEN PROMISE to appear                          []
                                                                                               UNSECURED BOND in the amount shown above
      C7 CUSTODY RELEASE               SECURED BOND           amount shown above NOTE: Give a copy of this order to any surety who posts bond.)
           {]
          HOUSE ARREST with ELECTRONIC MONITORING administered by agency)
          BOND above. You may leave your residence for the purpose(s) of                                          course of study
                                                                                                                                        a nd the SECURED
                                                                                                                                         vocational training
                                                                                  loyment []counseling




 & Your release is not authorized.
       The defendant is required to provide (check all that apply,     o fingerprints under G.S. 154-502                 Oa
                                                                                                                 DONA sample under G.S. 15A-266.34.
       Prior to release, the defendant shall provide his/her (check ail that apply)
                                               o
                                                                                          0
                                                                                        fingerprints     ONA sample
 [The       defendant has been         (i) charged with a felony white on probation (complete AOC-CR-272, S de One).      (1i) arrested for violation of probation
       with a pending felany charge or prior conviction requiring registration under G.S. 14, Article 27A (complete AOC-CR-272, Side Two).
       This Order is entered upon defendant's warrantless arrest for violation of conditions of release entered previously for the above-captioned case in the
       Order dated
       The defendant is charged with an offense subject to G.S. 154-534.1, and no judge has acted under that statute within 48 hours of defendant's arrest.
       The defendant was arrested or surrendered after failing to appear as required under a prior release order.
       This was the defendant's second or subsequent failure to appear in this case.
 O     Your release is subject to the conditions as shown on the attached       AOC-CR-242,          AOC-CR-270.                         []AOC-CR-630.                       [)AOC-CR-631.
                                                                                          OC-CR-660                   Other:
Adg tional information
DV HOLD


Date                     Name Of Juatcial Officiat                  Signature         p       Official                    x Magistrate                     Deputy CSC       [JAssistant csc
  10/07/2023             B.STRANG                                                                                              cierk Of Superior Court             [Joc Judge [} SC sucge
                                                                                                                                                                                       :
                                                                                                                                                                                           :


                a    :   :
                             :
                                  :   :    :
                                                       :
                                                                     ORDER OF COMMITMENT                                                   :   :
                                                                                                                                                   :

                                                                                                                                                       :       :

  To The Custodian Off The Detention Facility Named Below, you are ORDERED to receive n your custody the defendant named above who may be
  re'eased if authorized above. If the defendant is not sooner released, you are ORDERED to:          produce hinvher in Court as provided above.
  ohold him/her                   []
                          as provided on the attached AOC-CR-272.             for the following purpose:

  x flor charges covered by G.S. 154-534. (domestic viclence) or 154-534.7 (threat of mass violence}j produce hinvner at the first session of District or Superior Court hetd in
    this count after the entry of this Order or, if no session is held before (enter date and time 48 nours atter time of arrest)        10/09/2023                                    4:18 Akg
       [><]        PM produce him/her before a magistrate of this county at that time to determine conditions of pretrial release
Name Of Detention Facility                      Date                  Name Of Judicial! Official                          Signature Of Judicial Official


                                                                                      (Over)
  AOC-CR-200, Rev. 2/21, © 2021 Administrative Office of the Courts
                                                                                 0037

                    Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 38 of 53
                                                                                                                                                        a



           RENEE                          WRITTEN PROMISE TO APPEAR OR CUSTODY RELEASE                                                :       :    :
                                                                                                                                                            :
                                                                                                                                                                    :




 1, the undersigned, promise to appear at all hearings, trials or otherwise  as the Court may require and to abide by any restrictions set out above.
 | understand and agree that this promise is effective until the entry of judgment in the District Court fram which no appeal is taken or until the entry of
 judgment in Superior Court. If am released to the custody of another person, agree to be placed in that persons custody, and that person agrees by
                                                                                  |



 hisfher signature to supervise me.
Date                    Signature Of Defendant                                     Signature Of Person Agrecing To Supervise Ocfendant

Name Of Person Agreeing To Supervise Defendant (type or print)                    Adaress Of Person Agreeing To Supervise Defendant


      +                                                     DEFENDANT RELEASED ON BAIL
Date                                      Time                                    Signature Of Custodian
                                                                 Clam     [JPM
                                                                                                                                                  wes
                                                    CONDITIONS OF RELEASE MODIFICATIONS
The Conditions of Release on the reverse are modified as fallows:
                                    Modification                                           Date                      Signature Of Judicial Official




                                                                                                                                          :                     :



                                                   SUPPLEMENTAL ORDERS FOR COMMITMENT
                                                                                                                                :                               :

                                                                                                                        :
                                                                                                                            :




The defendant is next Ordered produced in Court as follows:
   Date          Time                 Place                                      Purpose                             Signaturo Of Judicial Official




                                                  DEFENDANT RECEIVED BY DETENTION FACILITY
                          Date                                     Time                                         Signature Of Custodian




                         . ne)                DEFENDANT RELEASED FOR COURT APPEARANCE
                          Date                                     Time                                         Signature Of Custodian




                                              accompany
 NOTE TO CUSTODIAN: This form shaif accompany the defendant fo court for aif appearances.
  AOC-CR-200, Side Two, Rev. 2/21
     © 2021 Administrative Office of the Courts
                                                                           0038

                Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 39 of 53
                   d




         CRIMINAL COMPLAINT FOR A WARRANT OF SUMMONS-DOMESTIC VIOLENCE

                                                     Complaint Number: 2023            100608530}
VICTIM INFORMATION




SUSPECT INFORMATION
Name:    Seren GieldS                 Race:                           Date of Birth: °) ~od-/7 Age:          33
Home Address/City/State/Zip code:           7407           Pre                       Circle
Phone:                           Oriver's License State: ASC Driver's License:

Place of Employment:                    Jakes                       y
AddressiCity/State/Zip: \01S           M1      Holly ~HunteySvil&

What hours/days do they work?           On >                                         an             pm

QUESTIONS ABOUT THE INCIDENT
1, When (date and time) and where did this happen?                 howe                             Sun            Oct 1
                     do?Sh@
2. What did the suspect                     Put                                around              neck
              Choveed me
3. Did the suspect threaten you? [      ] No      Yes /f yes, what did the suspect threaten to do?
\o       \\                                     Do you believe the suspect would do that? [        ] No   [x] Yes
4. Were you injured? [     ]No[ ] Yes if yes, do you have any visible bruises, cuts or other injuries?
Please describe:       Alo     ivie @ bevise hut                                hove her Netis
5. Did the defendant use a weapon? ry] No[          ] Yes      If yes, what kind?.

6. Was any property damaged?         A] No[ ] Yes ifyes, what was damaged and give amount ($) of
damage?
                               Ske     We            vif          ana       Wanted        me               het
7. Why did this happen?
                                                           N
                                         CONTINUED ON BACK >
                                                                                               Magistrate PS1-08/2018




                                                      0039

          Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 40 of 53
8. Did anyone other than you and the suspect see/hear this happen? [                      ]   No      Yes
Name            Address             Phone Number                             Relationship to you             Child/Adult
 T have abdio                  recording              the                 Shaped      Wits Mother
  SiS fe v,
9, What do you want the courts to do?                    ow                  a                                              our o
                                                                                                                                  hors €
10. Have you ever taken a warrant aut on the suspect? /f yes, state what charge, when and what
happened in court     AO
11. Has the suspect ever taken a warrant out on yt ju? If yes, what charge, when and what happened

in   court_JO
12. What is your relationship to the suspect?               _       Spouse/Ex-spouse                 dating relationship
             Child/ParenvFamily Member          ___
                                                      Other (Explain)

13. Have you ever lived together? [      J No   X] Yes
14. Has this ever happened before? [       ] No |<] Yes
        if yes, how many times and when (dates):                o     voy                     dees
15. Did the police come out? [      [X] Yes Did they make a report? [
                                  ] No                                                    ] No   [Xj Yes
16. What do you want the court to do?               OF dar                                    G&D out of
                                                                                      J
17. Do you have a 50B (protective order)? [*X] No]              ]   Yes
18. What   else can you tell us about the incident:             he Thveaten                    Fo    kill me.

     incidant
THE INFORMATION PROVIDED IN THIS CRIMINAL COMPLAINT IS TRUE TO THE BEST OF MY
KNOWLEDGE AND BELIEF, UNDER PENALTY OF PERJURY.



                                                                      Signature

                                                              10-07- ada"
                                                                      Date
Magistrate Comments:




                                                                                                         Magistrate PS1-08/2018




                                                        0040

           Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 41 of 53
                                                                   PID. SOFY
MECKLENBURG COUNTY ARREST PROCESSING CENTER                                                                          ARREST
                                                                                                                    SUMMARY
SUBJECT




Arrest #               1890376                                        PID

Last Name                                     First Name                                   Middle Name             Suffix
FIELDS                                        SARAH

Address

7407 PINE BLUFF CIRCLE CHARLOTTE, NC 28214

Date of Birth          Age                    Race                    Gender               SSN Source              SSN
1/3/1990              33                      WHITE                   Female


Occupation             DL #                   DL State                DL Source            DL Exp. Date            DL Class
                                              North Carolina          DMV DL/ 1D CARD                              OPERATORS
                                                                                                                   LICENSE NUMBER

Height                Weight                Eye Color                 Hair Color           Birth City              Birth State
5' 4"                                   150 HAZEL                     Biack                MILWAUKEE               Wisconsin

Birth Country         Military Branch         Military Discharge Date
United States of
America (USA)

ARREST DETAIL
Arrest Date                       Offense Start Date                  Offense Start Time                Impaired
10/7/2023 4:18 AM                 10/7/2023                           4:15AM                            No


Cooperative                       Use of Force                        Weapon Possession                 Weapon Type
Yes                                                                   No


Arrest Place Type                 Arrest location
Private Residence                 7407 PINE BLUFF CIRCLE CHARLOTTE, NC 28214


Additional Information
MECK CO 23CR429789-590

UNABLE TO ATTACH DOCUMENT IN AP SYSTEM
CHARGES

Charge Code         Charge Type    Charge Description                                       Complaint #            Process Number




  v0.1                                                         1   of 2                                  10/7/2023 4:52:28 AM




                                                                   0041

     Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 42 of 53
MECKLENBURG COUNTY ARREST PROCESSING CENTER                                                ARREST
                                                                                          SUMMARY
OFFICERS
Officer Code   Officer Last Name                      Officer Type           Subpoena Required
P6714          PARKER                                 Assisting

P6747          DEROLLER                               Arresting

P6813          CLINTON                                Assisting

VICTIMS
Last Name      First Name          Address                           Phone             Subpoena Required

WARRANT




  v0.1                                       2 of 2                              10/7/2023 4:52:28 AM




                                               0042

    Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 43 of 53
     File No.                                                          Law Enforcement Case No.                            LID No.
                            23CR429789-590
              WARRANT FOR ARREST
        THE STATE OF NORTH CAROLINA VS.
Name And Address Of Defendant
SARAH FIELDS                                                            STATE OF NORTH CAROLINA                                        In The General Court Of Justice
7407 Pine Bluff Cir                                                                                                                          District Court Division
                                                                                      MECKLENBURG
                                                                                                                      County
                Charlotte                       NC      28214-2133
     Mecklenburg COUNTY                                                                                       OFFENSE(S) (see AOC-CR-100 Continuation(s) for charging text)
                                                                        Count                                                                                                Offense in Violation         Offense
                                                                                                                           Offense
                                                                         No                                                                                                           OfG.S.               Code
Race                Sex            Date Of Birth          Age
         W                F            01/03/1990                 33                              COMMUNICATING THREATS                                                               14-277.1              5328
Name Ofiz Defendant's Employer                                            2
                                                                                                   M SIMPLE ASSAULT
                                                                                                              _                                                                       14-33(A)              1368

Date Of Offense
      10/01/2023
    Misdemeanor Offense Which Requires Fingerprinting Per
    Fingerprint Pian
Date Of Arrest & Check Digit No. (as shown on fingerprint card)


Complainant Name (and address, if Complainant is an officer)




Witness information




 TO ANY OFFICER WITH AUTHORITY AND JURISDICTION TO EXECUTE A WARRANT FOR ARREST FOR THE OFFENSE(S) CHARGED IN THIS WARRANT:
 |, the undersigned, find that there is probable cause to believe that on or about the date of offense shown and in the county named above the defendant named above
 unlawfully, willfully, and feloniously did commit the offense(s) set forth above and on the attached AOC-CR-100 Continuation(s), which is (are) incorporated by reference.
 This act(s) was in violation of the law referred to in this Warrant For Arrest. This Warrant For Arrest is issued upon information furnished under oath by the complainant
 listed. You are DIRECTED to arrest the defendant and bring the defendant before a judicial official without unnecessary delay to answer the charge(s) above.

Date Issued           Name Of Issuing Oficial                                 Signature                                                X   Magistrate []Deputycsc []Assistantcsc           [] Clerk Of Superior Court
     10/07/2023       N.Weeks                                                                                                              District Court JudgeaSuperior Court Judge
Location Of Court                                                                                      Court Date                                             Court Time


                                                                                WAIVER OF PROBABLE CAUSE HEARING                                       :




 The undersigned defendant, with the consent of his/her attorney, waives the right to a probable cause hearing.
Date Waived           Signature Of Defendant                                              Name Of Attomey                                                     Signature Of Attorney

                                                                                                       0043
                                                                                                            (Over)
     AOC-CR-100, Rev. 3/23, © 2023 Administrative Office of the                   A    Fae 04/09/24 Page 44 of 53
                                                                                           eeee                                                                       Domestic VRA Case
                                               Case 1:23-cv-00423-WO-JLW Document 94-1 Filed
                                                                                                                                     File No
                     STATE VERSUS                                            MECKLENBURG
                                                                                                           County                                     23CR429789-590
Name Of Defendant
SARAH FIELDS
Date Of issuance Of Warrant For Arvest
                                                              NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-100. G.S. 15A-924(a)(5).
                               10/07/2023
                                                                            OFFENSES (continued)
   Count 1.       Offense: NVM     -
                                         COMMUNICATING THREATS
Charging Text For This Count
 On or about the date o f offense shown and in the county named above the defendant unlawfully and willfully did threaten to physically injure the person of            The
 threat was communicated to                      by ORALLY STATED IN PERSON TO THE VICTIM SIIE WOULD KILL HIM AND THAT HE WOULD BE DEAD BY THE
 END OF THIS YEAR, NEXT YEAR AT THE VERY LATEST. SHE WAS VERY SPECIFIC IN HER TIMELINE. and the threat was made in a manner and under circumstances
 which would cause a reasonable person to believe that the threat was likely to be carried out and the person threatened belicved that the threat would be carried out.




   Count 2.       Offense: M       -
                                         SIMPLE ASSAULT
Charging Text For This Count
 On or about the date of offense shown and in the county named above the defendant unlawfully and willfully did assault and strikc                    by HITTING THE VICTIM
 ACROSS HIS HEAD AND BODY WITH A CLOSED FIST BEFORE PLACING BOTH HANDS AROUND HIS NECK AND BEGAN CHOKING HIM.




   AOC-CR-100 Continuation, Rev. 3/23                                                0044
   © 2023 Administrative Office of the Courts                                                             Page      Continuation                 of       Continuation Pages
                                                          Mtp
                                            Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 45 of 53
                                                                                                                                    File No.


Name Of Defendant
                     STATE VERSUS                                           MECKLENBURG                  County                 S                    23CR429789-590

SARAH FIELDS
Date Of issuance Of Warrant For Arrest
                                                             NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-100. G.S. 15A-924(a)(5).
                               10/07/2023
                                                                           OFFENSES (continued)
   Count 3.       Offense:
Charging Text For This Count




   Count 4.       Offense:
Charging Text For This Count




   AOC-CR-100 Continuation, Rev. 3/23
                                                                                   0045
  © 2023 Administrative Office of the Couns                                                                 Page   Continuation                 of         Continuation Pages
                                            Case 1:23-cv-00423-WO-JLW Document 94-1    fae Car
                                                                                  Lat Filed      ro
                                                                                            04/09/24
                                                                                             Nv
                                                                                                     Page 46 of 53
                                                                                                                                                     ___
                                                                                                                                    File No.
                     STATE VERSUS                                           MECKLENBURG
                                                                                                          County                S                    23CR429789-590
Name Of Defendant
SARAH FIELDS
Date Of issuance Of Warrant For Arrest
                                                             NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-100. G.S. 15A-924(a)}5).
                               10/07/2023
                                                                           OFFENSES (continued)
   Count 5.       Offense:
Charging Text For This Count




   Count 6.       Offense:
Crarging Text For This Count




  AOC-CR-100 Continuation, Rev. 3/23                                               0046
  © 2023 Administrative Office of the Courts                                                                       Continuation Page            of       Continuation Pages
                                                         Minar
                                            Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 47 of 53
                                                                                                                                    File No.
                     STATE VERSUS                                           MECKLENBURG                  County                                      23CR429789-590
Name Of Defendant
SARAH FIELDS
Date Of Issuance Of Warrant For Arrest
                                                             NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-100. G.S. 15A-924(a)(5).
                               10/07/2023
                                                                           OFFENSES (continued)
   Count7.        Offense:
Charging Text For This Count




   Count 8.       Offense:
Charging Text For This Count




   AOC-CR-100 Continuation, Rev. 3/23
                                                                                   0047
   © 2023 Administrative Office of the Courts                                                             Page     Continuation                 of       Continuation Pages
                                                          MAR er
                                            Case 1:23-cv-00423-WO-JLW   ONnee 94-1
                                                                      Document  NIA+Filed Cam
                                                                                     fae 04/09/24 Page 48 of 53
                                                                                                                                        File No.


    Name Of Defendant
                         STATE VERSUS                                           MECKLENBURG                   County                »                    23CR429789-590

    SARAH FIELDS
    Date Of issuance Of Warrant Fer Arrest
                                                                 NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-100. G.S. 15A-924(a}(5).
                                   10/07/2023
                                                                               OFFENSES (continued)
       Count9.        Offense:
«   Charging Text For This Count




       Count10.         Offense:
    Cherging Text For This Count




       AOC-CR-100 Continuation, Rev. 3/23                                               0048
       © 2023 Administrative Office of the Courts                                                             Page     Continuation                 of       Continuation Pages
                                                              {Nth Ae Kawneer nears     fave
                                                Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 49 of 53
                                                                                                                                                         File No.
                     STATE VERSUS                                                     MECKLENBURG                           County                                              23CR429789-590
Name Cf Defendant
SARAH FIELDS                                                              if the Warrant For Arrest is not served within one hundred and eighty (180) days, it must be returned to the Clerk of
Date Of tssuance Of Warrant For Arrest                                    Court in the county in which it was issued with the reason for the failure of service noted thereon.
                                10/07/2023
                                                                                          RETURN OF SERVICE
 |
     certify that the Warrant For Arrest issued in this case on the date noted above for the defendant named above, was received and served as follows:
Date Received                                               Date Served                             Time Served                                                Daie Retumed



 o By arresting the defendant and bringing the defendant before:
Name Of Judicial Official



        The Warrant WAS NOT served for the following reason:



Signature Of Officer Making Retum                                                                         Name Of Officer (type or print)


Department Or Agency Of Officer


                                                                                      REDELIVERY/REISSUANCE
Date                    Name Of Clerk (type or print)                                Signature Of Clerk
                                                                                                                                             [Joeputycsc [JAssistantcsc                           (] Clerk Of Superior Court
                                                                          RETURN FOLLOWING REDELIVERY/REISSUANCE
                                                                                                                                                                :                                      :
                                                        :
                                                                                                                                                     :
                                                                                                                                                          :
                                                                                                                                                                    :
                                                                                                                                                                        :   :
                                                                                                                                                                                  :   :
                                                                                                                                                                                          :
                                                                                                                                                                                              :


                                                                                                                                                                                                  :
                                                                                                                                                                                                      aa            :   :
                                                                                                                                                                                                                            :




 |
     certify that the Warrant For Arrest issued in this case on the date noted above for the defendant named above, was received and served as follows:
Date Recewed                                                Date Served                              Time Served                                               Date Returned



        By arresting the defendant and bringing the defendant before:
Name Of Judicial Official



 (] The Warrant WAS NOT served for the following reason:

Signature Of Officer Making Return                                                                        Name Of Officer (type or print)


Department Or Agency Of Officer




     AOC-CR-100 Retum, Rev. 3/23                                                                   0049
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                                                                   A
                                              Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 50 of 53
                                                                                                                                                                     File No.
                      STATE VERSUS                                                               MECKLENBURG                          County                                            23CR429789-590
Name Of Defendant                                                         NOTE: Use this page to enter judgment on a Warrant For Arrest. Use this Judgment page only # imposing a single, consolidated jucgment
SARAH FIELDS                                                                     for alf offenses of conviction charged under this fle number. Do net use this Judgment page to impose sentence: (i) if imposing separate
Date Of issuance Of Warrant For Arrest                                          judgments for separate offenses of conviction charged under this file number, (i) to impose supervised probation, or (iil) for DWI sentences
                                                                                   under G.S. 20-179, For DWi, use AOC-CR-342 (active) orAOC-CR-310 (probation). For structured sentencing offenses, use AOC-CR-602
                             10/07/2023                                            (active) or AOC-CR-604 (probation).
                                                                                                         JUDGMENT
District Attorney                                        Def, Waived Attomey   O Def, Found Not indigent Attomey For Defendant                                   Appointed                   PRIOR CONVICTIONS:
                                                         Def, Denied Appointed Counsel                                                                           Retained       NoJlevel;    00 1{0)   _   HN(1-4)   -_0) ts (5+)

OFFENSES: The following offenses, which are set forth by Count No. in the Warrant For Arrest issued in this case on the date noted above for the defendant named above, are the
subject of this Judgment:

Count 1         PLEA:      guilty   CJ not guilty [Jno contest                                             VERDICT:        guilty   [not guilty                                     M.CL.:    Cat 01            2


Count 2         PLEA: [[] guilty         not guilty   [Ino contest                                         VERDICT:        guilty   [] not guilty                                   M.CL.:    Cat C1 O2 U3

Count 3         PLEA:      guilty   [J] not guitty (Jno contest                                            VERDICT:        guilty      not guitty                                   M.CL.:    Oa: O1 O2 03

Count 4         PLEA:   [] guilty onot guitty []no contest                                                 VERDICT:        guilty          guilty                                   M.CL.: Cla:        01 C2             3


Count 5         PLEA:   [] guilty        not guitty   (Jno contest                                         VEROICT: [[] guilty      [] not guilty                                   M.CL.:    Cat C1 C2 13

 Count 6        PLEA:   [] guilty        not guilty   L]no contest                                         VERDICT: []quitty        [not guitty                                     M.CL.:


 Count 7        PLEA:      guilty   [Jnot guilty         no contest                                        veRoICT: (]guitty []not guilty                                           M.CL.: Oat              Oz O3
 Count 8        PLEA:   [] guilty        not guilty   Ono contest                                          VERDICT: O guilty        [not guiity                                     M.CL.: Ola'        C1 C2 D3

 Count 9        PLEA:      guilty   onot guitty          no contest                                        VERDICT:        guilty      not guilty                                   M.CL.: Oat         O1 C2 C3

 Count 10       PLEA:      guitty        not guilty   Ono contest                                          -VEROICT:       guitty      not guitty                                   M.CL.: Oa:         O1 D2 03




                                                                                                              (Over)


   AOC-CR-100 Judgment, Rev. 3/23
                                                                                                          0050
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                                               Case 1:23-cv-00423-WO-JLW Document 94-1 Filed 04/09/24 Page 51 of 53
                                                                                                                                                                                   File No
                        STATE VERSUS                                                                    MECKLENBURG
                                                                                                                                                County                                                  23CR429789-590
Name Of Defendant
                                                                             *NOTE: Use this Judgment page only it imposing a single, consolbdated judgment for all offenses of conviction charged under this file number, Do nat use this
SARAH FIELDS                                                                             Judgment page fo impose sentence: () # imposing separate sucigments for separate offenses of conviction charged under ths file number, (ji) fo impose
                                                                                         supervised probation; or (ii) for OWA sentences under G.S. 20-179. For DWI, use AOC-CR.342 (active) orAOC-CR-310 (probation). For structured sentencing
                                                                                         offenses, use AOC-CR-602 (active) or AOC-CR-606 (probation).

                                                                                                       JUDGMENT (continued)
JUDGMENT: The defendant appeared in open court and freely, voluntarily and understandingly entered the plea(s) on Side One. On the verdict(s) from Side One, it is ORDERED that all offenses of
conviction, if more than one, be consolidated for judgment with Count No.                         (ist count of lead offense) and that the defendant:
                                                     Amount Of Fine/Penalty              Costs
  a                                              :
                                                     5
      be imprisoned for a term of              days in custody ofthe         []sheriff.           Mcp     [}Other:
                                                                                                                       *
                                                                                                                                                                   Pretrial credit           days served.
  Work release          Dis
                         recommended. [LJisnotrecommended.                 (NOTE: 7o order work release, use form AOC-CR-602 to impose judgment)
Othe Court finds thata [C]longer shorter period of probation than that which is specified in G.S. 15A-1343.2(d) is necessary.
(]Execution of the sentence is suspended and the defendant is placed on unsupervised probation* for
      1, commit no criminal offense in any jurisdiction.
                                                                                                                      months, subject to the following conditions:
                                                            2. possess no firearm, explosive or other deadly weapon listed in G.S. 14-269.
      3. remain gainfully and suitably employed, or faithfully pursue a course of study or of vocational training that will equip the defendant for suitable employment and abide by all rules of the institution.
      4. satisfy child support and family obligations, as required by the Court.     5. Submit to the taking of digitized photographs, including photographs of the defendant's face, scars, marks, and tattoos,
         to be included in the defendant's records.     6. pay to the Clerk the costs of court and any additional sums shown below.
          Costs                     Fine                         Restitution**                Aittomey's Fee               Community Service Fee       Other                       Total Amount Due
             $                            $                             $                                 $                              $                                $                             $
             **Name(s), address(es), and amount(s) for aggrieved party(ies) to receive restitution: (NOTE TO CLERK; Record SSN ar Tax ID No. of aggneved party(ies) on AOC-CR-382, "Certification Of Identity (Viclims' Resitutiony
             Certification Of identity (Witness Attendance) }



          7. comptete           hours of community service during the first                days of probation, as directed by the judicial services coordinator, and pay the fee prescribed by G.S. 1438-1483 within                          days.
          8. not be found in or on the premises of the complainant or
      CJ 9. not assault, communicate with or be in the presence of the complainant or
      CI 10. provide a DNA sample pursuant to G.S. 15A-266.4. (AOC-CR-319 required)
         11. Other:




  The Court finds just cause to waive costs as ordered on attached (]AOC-cR-415. oAoc-cr-618.            Other:
itis ORDERED that this:     Judgment is continued upon payment of costs.
                            case be consolidated for judgment with
                        sentence is to run at the expiration of the sentence in
  COMMITMENT: Itis ORDERED that the Clerk deliver two certified copies of this Judgment and Commitment to the sheriff and that the shetiff cause the defendant to be retained in custody to
                    serve the sentence imposed or until the defendant shail have complied with the conditions of release pending appeal.
PROBABLE CAUSE:          Probable cause is found as to all Counts except                                               and the defendant is bound over to Superior Court for action by the grand jury.
                           0 probable cause is found as to Count(s)                                                                           this Warrant and the Count(s) is dismissed
Date                        Name Of District Court Judge Or Magistrate (type or print)                                          Signature Of District Court Judge Or Magistrate


                                                                                                          APPEAL ENTRIES
      The defendant, in open court, gives notice of appeal tothe            (]District     []Superior         Court.
      The current pretrial release order is modified as follows:
Date                        Name Of District Court Judge Or Magistrate (type or print)                                     Signature Of Disirict Court Judge Or Magistrate


                                                                                                              CERTIFICATION
i certify that this Judgment is a true and complete copy of the original which is             Sate                         Date Delivered To Shenff    Signature                                                      Dep. CSC         Asst. CSC
an file n this case.

  AOC-CR-100 Judgment, Side Two, Rev. 3/23, © 2023
                                                                 Administrative Office
                                                                                         x
                                                                                       Fre       the Courts
                                                                                                                  0051
                                                                                                                                                                                                                      Clerk Of Superior Court



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